Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 1 of 195




                 EXHIBIT “25”
           Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 2 10/15/15,
Pornstar Network                                                                       of 195 3:46 PM

                                                                                                                                                                                       Mobile Version Help Join Now




 HOME         VIDEOS         PICTURES           PORNSTARS             LIVE           STUDIOS          DVDS         SITES        REVIEWS                                                 Search Videos



 TERMS & CONDITIONS


 You must read and agree to these Terms and Conditions before you can join. Please read them carefully. By purchasing a Membership to the site, you become a Subscriber and agree to be bound by these Terms a
 Conditions (the "Agreement"). This agreement is subject to change by HVL Cyberweb Solutions Inc. (hereinafter "HVL") at any time, and changes are effective without notice upon each Subscriber.

 DEFINITIONS
 The term "site", as referred to in these Terms and Conditions shall mean the Internet site for which you are purchasing a user name and password (login) from HVL in order to access that site and enjoy its contents and bene
 of Membership. The term "Member" or "Membership", as referred to in the Terms and Conditions shall mean -The holder (Subscriber) of a valid user name and password (login) for the site during the term of Membership. T
 term "Subscriber", as referred to in the Terms and Conditions shall mean - The End-user, Consumer, of the services of the site and holder of a valid user name and password (login) for the site. The term "Login", as referred
 in the Terms and Conditions shall mean - The combination of unique user name and password that is sold by HVL and used to access the site. A Login is a license to use the site for a period of time. The term "Bookmarkin
 as referred to in the Terms and Conditions shall mean - The act of placing a Web page (URL) into a temporary file on the Subscribers browser so that the Subscriber may return to that page at a future date directly, with
 passing through any preceding pages.

                                                                                                     IMPORTANT NOTICE
   NON-CANADIAN SUBSCRIPTIONS
   It's not possible to use your membership on the territory of Canada if you didn't purchase this Membership in Canada . If we detect that a Membership was purchased by a person not located in Canada , but tha
   Membership is being used in Canada , we will automatically block your access and we will void the Membership, because of a breach of this Agreement.

   CANADIAN SUBSCRIPTIONS

   1. NON-QUEBEC SUBSCRIPTIONS

   It's not possible to use of your Membership on the territory of Quebec if you didn't purchase this Membership in Quebec . If we detect that a Membership was purchased by a person not located in Quebec , but tha
   Membership is being used in Quebec ,we will automatically block your access and we will void the Membership, because of a breach of this Agreement. GST/HST is included in the price if applicable.

   2. QUEBEC SUBSCRIPTIONS

   There is no territory restriction for Membership purchased in Quebec. GST/HST and QST are included in the price if applicable.

 BILLING DESCRIPTION
 All charges will discreetly appear as PSNSupport.com, PSNbilling.com , EPOCH or CCBILL on your credit card statement depending on the processor.

 ELECTRONIC RECEIPT
 Subscribers will be given, via email, electronic receipts and/or access to billing records that support charges for use of the site.

 SUBSCRIPTION FEES
 The Subscriber is responsible for paying periodic subscription fees according to the then-current terms of the site.

 AUTOMATIC RENEWAL
 Subscription fees for regular Memberships are automatically renewed at the end of the original term selected, for a like period of time, unless notice is submitted by the Subscriber to HVL or the site two (2) days prior to the e
 of the term. Unless and until this agreement is cancelled in accordance with the terms hereof, Subscriber hereby authorizes HVL to charge Subscriber's credit card (or other approved facility) to pay for the ongoing cos
 Membership. Subscriber hereby further authorizes HVL to charge Subscriber's credit card (or other approved facility) for any and all purchases of products, services and entertainment provided by the site.

 NON-ASSIGNABILITY/THEFT OF LOGIN
 Your Membership, user name and password (login) may not be assigned or transferred to any other person or entity. Subscriber must promptly inform HVL or the site of any apparent breach of security, such as loss, theft
 unauthorized disclosure or use of a user name or password. Until HVL or the site is notified, by e-mail, or by telephone of any breach in security, the Subscriber will remain liable for any unauthorized use of the Service.

 MEMBERSHIP TO NEWSLETTER
 By subscribing to this site, you will be automatically added to the site newsletter, to help us keep you inform of the content update and configuration changes that could occur.

 TERMINATION/CANCELLATION
 Subscription to the Service may be terminated at any time, and without cause, by HVL, the site or the Subscriber upon notification of the other party by electronic or conventional mail, or by telephone or fax. Subscribers
 liable for charges incurred by them until termination of service.

 REFUNDS
 In the event that a refund is issued, ALL refunds will be made by crediting the credit card that was used to make the original purchase.

 FRAUD & CHARGEBACK RIGHTS
 You hereby agree that all fraud and misuse of your card will be promptly reported to HVL. You also agree that any disputes with billing, delivery, or service quality will be addressed and investigated through HVL. Any char
 disputed with your issuing bank or financial institution without first contacting HVL for resolution may be construed as an attempt to defraud HVL. Liquidated damages up to $500 may be assessed by HVL, in its discreti
 against any individual who fraudulently obtains a membership or whose transaction later results in a chargeback to the account. Member agrees that the liquidated damage amount above is reasonable, does not constitut
 penalty, and is being established due to the difficulties and inconvenience associated with attempting to establish the exact amount of loss which may be sustained by HVL due to excessive chargebacks to the account. S
 individual shall indemnify and hold HVL harmless from any and all claims, fines or other damages imposed by any credit card company or other entity due to excessive chargebacks which are the cumulative result of s
 individuals fraudulent actions.

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 Commercial use of the site, or any material located on it, is strictly prohibited. In addition, you may not modify any of the materials found on the site; use them for any public display, performance, sale or rental; remove, mo
 or alter any copyright or other proprietary notice, or trademarks there from; or transfer any material located on the site to any other person. HVL and the site reserve the right to terminate this license at any time if you brea
 the terms of this agreement, in which case you will be obligated to immediately destroy any information downloaded, printed or otherwise copied from the site. Access to and use of the site is through a combination of a u
 name and a password (login). Each Subscriber must keep his or her login strictly confidential. For security reasons, HVL. will not release passwords for any reason, to anyone other than the Subscriber, except as may
 specifically required by law or court order. Unauthorized access to the site is a breach of this Agreement and a violation of law.

 BOOKMARKING
 Bookmarking to a page on the site whereby the Warning page(s) and/or Terms and Conditions are by-passed shall constitute an implicit acceptance of the Terms and Conditions herein and an explicit acknowledgement of a
 of majority.

 DISCLAIMERS
 The materials on the site are provided "as is" without any express or implied warranty of any kind including warranties of merchantability, noninfringement of intellectual property or fitness for a particular purpose. HVL offers
 assurance of uninterrupted or error free service. HVL does not warrant the accuracy or completeness of the information, text, graphics, links or other items contained on the site.

 Any of the information offered on the site may change at any time without notice.

 HVL makes no representation as to any of the information found at the site. in no event shall HVL be liable for any damages whatsoever (including, without limitation, damages for loss of profits, business interruption, loss
 information) arising out of the use or inability to use the material or information available on the site, even if HVL has been advised of such damages.

 Subscribers are responsible for providing all personal computer and communications equipment necessary to gain access to the site.




http://www.pornstarnetwork.com/terms.html                                                                                                                                                                    Page 1 of 2
           Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 3 10/15/15,
Pornstar Network                                                                       of 195 3:46 PM

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 copyrights or other proprietary information.

 If the site enables Subscribers to share information with other Subscribers, Subscribers agree not to submit, publish, or display on the Service any defamatory, inaccurate, abusive, threatening, racially offensive, or ille
 material. Transmission of such material that violates any federal, state, or local law, is prohibited and is a breach of this Agreement. Subscribers agree not to engage in advertising to, or solicitation of other Subscribers to
 or sell any products or services through the site without prior written consent. Subscribers are responsible for information they send, or display through the site even if a claim should arise after termination of service.
 messages shall be deemed to be readily accessible to the general public. Do not use the site for any communication for which the sender intends only the sender and the intended recipient(s) to read. Notice is hereby giv
 that all messages entered into this site can and may be read by the operators of the site, whether or not they are the intended recipient(s).

 The Subscriber hereby warrants and represents that he or she is over the age of 18(21 in AL, MS, NE, and WY), and in all respects is qualified and competent to enter into this agreement.

 AGREEMENT TO VIEW ADULT MATERIAL
 The site is designed and intended SOLELY for ADULTS - people who are at least 18 years old (21 in AL, MS, NE, and WY)-- who are interested in and wish to have access to visual images, verbal descriptions and au
 sounds of a sexually oriented, frankly erotic nature. The materials which are available within this site may include graphic visual depictions and descriptions of nudity and sexual activity and should NOT be accessed by anyo
 who is younger than 18 years old (21 in AL, MS, NE, and WY) or who does not wish to be exposed to such materials. By purchasing a Membership you are making the following statements:

 "Under penalty of perjury, I swear/affirm that as of this moment, I am an adult, at least 18 years of age (21 in AL, MS, NE, and WY)." "I promise that I will not permit any person(s) under 18 years of age (21 in AL, MS, NE, a
 WY) to have access to any of the materials contained within this site." "I understand that when I gain access to this site, I will be exposed to visual images, verbal descriptions and audio sounds of a sexually oriented, fran
 erotic nature, which may include graphic visual depictions and descriptions of nudity and sexual activity. I am voluntarily choosing to do so, because I want to view, read and/or hear the various materials which are available,
 my own personal enjoyment, information and/or education. My choice is a manifestation of my interest in sexual matters, which is both healthy and normal and, which, in my experience, is generally shared by average adult
 my community. I am familiar with the standards in my community regarding the acceptance of such sexually oriented materials, and the materials I expect to encounter are within those standards. In my judgment, the avera
 adult in my community accepts the consumption of such materials by willing adults in circumstances such as this which offer reasonable insulation from the materials for minors and unwilling adults, and will not find su
 materials to appeal to a prurient interest or to be patently offensive."

 ADDITIONAL TERMS AND CONDITIONS
 In addition to these Terms and Conditions, the site may have additional Terms and Conditions that are an integral part of this Agreement. All Terms and Conditions apply to HVL, the site, and you. I agree to the Terms a
 Conditions specified by the site linked to this page.

 Subscriber agrees to only use his Membership in the country where he made the purchase. Specifically, Subscribers who are non-resident of Canada agrees to never use their Membership in Canada. If a subscriber wishes
 use his membership in Canada and he his a not a resident of Canada, he has to contact HVL beforehand.

 Download Limit: Each subscriber may download unlimited number of movies each day within reason. It's in our discretion to cancel subscribers account without refund in the event of an abusal activity.

 LIMITED TRIAL
 Subscribers who opt for a limited trial subscription are entitiled to a limited access to the members section of the site for a period of 2 days. Limitations may include but are not limited to; access to some movie parts a
 sections of the site.

 SEVERABILITY
 If any provision of this Agreement shall be held to be invalid or unenforceable for any reason, the remaining provisions shall continue to be valid and enforceable. If a court finds that any of this Agreement is invalid
 unenforceable, but that by limiting such provision it would become valid or enforceable, then such provision shall be deemed to be written, construed, and enforced as so limited.

 LEGAL
 HVL abides by Canada laws and Regulations.

 NOTICES
 Notices by the site to Subscribers may be given by means of electronic messages through the site or by HVL, by a general posting on the site, or by conventional mail. Notices by Subscribers may be given by electro
 messages, conventional mail, telephone or fax unless otherwise specified in the Agreement. All questions, complaints, or notices regarding the site must be directed to HVL, here or to the site.

 EMAIL OPT-IN AND USER COMMUNICATION
 The subscriber's e-mail address may be used by the site to communicate special offers and other relevant information such as new services, subscription information, etc. In addition, there may be occasions when a subscri
 will be presented with special offers either from the operators of the site or from third-party service, which may include consent to receive e-mail solicitations, communications, newsletters, commercial advertising, or ot
 promotional or special event materials. These communications shall be deemed to be opt-in email communications by virtue of the subscriber joining this site.The permission to send these communications shall continue to
 in effect until opted out by the subscriber.

 The subscriber may opt-out of a mailing list by clicking on the removal link located at the bottom of the promotional email or by visiting the site:

 CONTACT INFORMATION
 E-mail us at                          and one of our Customer Support people will be happy to reply to your request. A response will be forwarded to your E-mail address within a reasonable delay.

 HVL Cyberweb Solutions Inc
 PO BOX 4002, SUCC D
 Montreal, QC
 Canada, H3C 0J7




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                                                                                                                                                                  18 U.S.C. 2257 Record-Keeping Requirement Compliance Stat




http://www.pornstarnetwork.com/terms.html                                                                                                                                                                   Page 2 of 2
Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 4 of 195




                 EXHIBIT “26”
Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 5 of 195
Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 6 of 195
Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 7 of 195
Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 8 of 195
Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 9 of 195
Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 10 of 195




                 EXHIBIT “27”
Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 11 of 195
Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 12 of 195
Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 13 of 195
Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 14 of 195




                 EXHIBIT “28”
Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 15 of 195
Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 16 of 195
Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 17 of 195
Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 18 of 195
Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 19 of 195




                 EXHIBIT “29”
Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 20 of 195
Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 21 of 195
Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 22 of 195




                 EXHIBIT “30”
WHOIS Lookup - Domain Name Information Search - NameSilo                                                                                   https://www.namesilo.com/whois.php
         Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 23 of 195

                                                                                                            My Cart | Log In | Create New Account | Manage My Domains




                                                                               home       register      transfer      pricing   auctions     why us?   support



         WHOIS Lookup
         You can use the form below to conduct a WHOIS search. Querying WHOIS will allow you to view certain information
         associated with that domain's ownership, and the other roles associated with domain name ownership.                                cheap
          WHOIS Lookup

                                                                                                                                            easy
               Domain or IP address:       staticcache.com

                                                                                                                                            secure

         Domain Name: staticcache.com
         Registry Domain ID: 1581260020_DOMAIN_COM-VRSN                                                                                     tools
         Registrar WHOIS Server: whois.namesilo.com
         Registrar URL: https://www.namesilo.com/
         Updated Date: 2015-10-09
         Creation Date: 2010-01-08
         Registrar Registration Expiration Date: 2016-01-08
         Registrar: NameSilo, LLC
         Registrar IANA ID: 1479
         Registrar Abuse Contact Email: abuse@namesilo.com
         Registrar Abuse Contact Phone: +1.6024928198
         Status: clientUpdateProhibited
         Status: clientRenewProhibited
         Status: clientDeleteProhibited
         Status: clientTransferProhibited
         Registry Registrant ID:
         Registrant Name: Domain Administrator
         Registrant Organization: See PrivacyGuardian.org
         Registrant Street: 1928 E. Highland Ave. Ste F104 PMB# 255
         Registrant City: Phoenix
         Registrant State/Province: AZ
         Registrant Postal Code: 85016
         Registrant Country: US
         Registrant Phone: +1.3478717726
         Registrant Phone Ext:
         Registrant Fax:
         Registrant Fax Ext:
         Registrant Email: pw-946229462e4a51c70379f0c546acb1e3@privacyguardian.org
         Registry Admin ID:
         Admin Name: Domain Administrator
         Admin Organization: See PrivacyGuardian.org
         Admin Street: 1928 E. Highland Ave. Ste F104 PMB# 255
         Admin City: Phoenix
         Admin State/Province: AZ
         Admin Postal Code: 85016
         Admin Country: US
         Admin Phone: +1.3478717726
         Admin Phone Ext:
         Admin Fax:
         Admin Fax Ext:
         Admin Email: pw-946229462e4a51c70379f0c546acb1e3@privacyguardian.org
         Registry Tech ID:
         Tech Name: Domain Administrator
         Tech Organization: See PrivacyGuardian.org
         Tech Street: 1928 E. Highland Ave. Ste F104 PMB# 255
         Tech City: Phoenix
         Tech State/Province: AZ
         Tech Postal Code: 85016
         Tech Country: US
         Tech Phone: +1.3478717726
         Tech Phone Ext:
         Tech Fax:
         Tech Fax Ext:
         Tech Email: pw-946229462e4a51c70379f0c546acb1e3@privacyguardian.org
         Name Server: ns2.braincash.com
         Name Server: ns1.braincash.com
         DNSSEC: unsigned
         URL of the ICANN WHOIS Data Problem Reporting System: http://wdprs.internic.net/
         Last update of WHOIS database: 2015-10-09 12:41:30

         NOTICE AND TERMS OF USE: You are not authorized to access or query our WHOIS
         database through the use of high-volume, automated, electronic processes. The
         Data in our WHOIS database is provided for information purposes only, and to
         assist persons in obtaining information about or related to a domain name
         registration record. We do not guarantee its accuracy. By submitting a WHOIS
         query, you agree to abide by the following terms of use: You agree that you may




1 of 2                                                                                                                                                    10/9/2015 12:42 PM
WHOIS Lookup - Domain Name Information Search - NameSilo                                                    https://www.namesilo.com/whois.php
           Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 24 of 195
          use this Data only for lawful purposes and that under no circumstances will you
          use this Data to: (1) allow, enable, or otherwise support the transmission of
          mass unsolicited, commercial advertising or solicitations via e-mail, telephone,
          or facsimile; or (2) enable high volume, automated, electronic processes that
          apply to us (or our computer systems). The compilation, repackaging,
          dissemination or other use of this Data is expressly prohibited without our
          prior written consent. We reserve the right to terminate your access to the
          WHOIS database at our sole discretion, including without limitation, for
          excessive querying of the WHOIS database or for failure to otherwise abide by
          this policy. We reserve the right to modify these terms at any time.

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          http://www.namesilo.com

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2 of 2                                                                                                                     10/9/2015 12:42 PM
Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 25 of 195




                 EXHIBIT “31”
AVN - HVL Cyberweb Solutions Inc.                                             http://avnid.com/HVL-Cyberweb-Solutions-Inc-58530.html
          Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 26 of 195



           HVL Cyberweb Solutions Inc.

           Overview

           Contact information

           5464 10th Ave.
           Montreal Quebec H1Y 2G8

           phone:   view phone




           Additional information

           Description

           HVL Cyberweb Solutions is the parent company of BrainCash.com.

           Braincash Introduces The Brand New ''EVOD''. A Revolutionary WebSite Builder Exclusive To Our Affiliates.

           You can now create and operate your own paysite in no time at all ... and AT NO COST!

           TGP Submitters, TGP Owners and Review Sites : EVOD is for you!


           Hours of work

           Location

           5464 10th Ave.
           Montreal Quebec H1Y 2G8




1 of 1                                                                                                            10/9/2015 8:56 AM
Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 27 of 195




                 EXHIBIT “32”
             Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 28 10/15/15,
     Adult Industry and Webmaster Resources, articles, news, press, advertising           of 1953:55 PM

C News Ticker:         RabbitsReviews Unveils New Porn Site Rankings                                                    FREE REGISTRATION / Member Login

                                                                                                   Visit other Adult
                                                                                                   Chamber Networks Sites




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Braincash Releases New P.O.V. Site
By Fred | February 17, 2006
                                                                                                               Video Secrets Launches New
                                                                                                               Super Voyeur Technology
MONTREAL, Canada - Braincash adds another site to it`s catalog with the release of                             Calabasas, CA (October 4, 2012) - Super Voyeur
SwallowMePOV.com. The hardcore cum swallowing site features some of the most complete scenes, all              is a brand new show type from Video Secrets
in P.O.V. style. With plenty of Ass To Mouth, Ass To Pussy and tons of cum hungry babes swallowing             (www.v...
every drop, SwallowMePOV will satisfy all the P.O.V. lovers out there and will make every surfer come          Read More
back for more. “We‘re happy to add such hardcore and diverse action in our catalog with this hot
content from our partner Doghouse Digital.” said Braincash owner Fred Valiquette in a statement. Free
hosted galleries and banners are ready to use for webmasters interested in promoting
                                                                                                               AdultStockPhoto.com For Sale
SwallowMePOV.com. ABOUT Braincash: Braincash is a Montreal-based adult affiliate program, with its             **Serious buyers only please** Micro stock
inception dating to 2000. Braincash made a name for itself by signing deals with major pornstars and           photography website AdultStockPhoto.com is
studios, like Peter North. Today, Braincash offers webmasters the opportunity to promote official sites        for sale. ...
for Peter North, Lex Steele, Doghouse Digital, Silverstone, DVSX and others. There's also a series of          Read More
single-girl sites, such as Christine Young's, which has enjoyed a lasting popularity, and a growing base
of niche sites on the roster. The products sponsored by Braincash for the adult market are exclusive,          RabbitsReviews 2012 RISE
strongly branded and are of high quality for better conversion and retention. Visit
http://www.Braincash.com                                                                                       Awards Winners
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                                                                                                               Innovation and Site Excellence (RISE) Awards
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   Back to top




     http://www.adultchamber.com/press/view/1431/                                                                                                     Page 1 of 2
              Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 29 10/15/15,
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                                                                                   Submit a Resource        Web Design          Adult Webmaster Hangout Forum
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      http://www.adultchamber.com/press/view/1431/                                                                                                      Page 2 of 2
Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 30 of 195




                 EXHIBIT “33”
sex      Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 3110/15/15,
                                                                                      of 1953:59 PM

                                                                 http://hd.sex.com/terms.html                                                   Go                    DEC    FEB     MAR                         Close

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                                                12 Apr 14 - 17 Feb 15                                                                                                2014 2015 2016                               Help




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   CANADIAN SUBSCRIPTIONS

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https://web.archive.org/web/20150217140323/http://hd.sex.com/terms.html                                                                                                                                      Page 1 of 2
sex      Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 3210/15/15,
                                                                                      of 1953:59 PM

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 The Subscriber hereby warrants and represents that he or she is over the age of 18(21 in AL, MS, NE, and WY), and in all respects is qualified and competent to enter into this agreement.

 AGREEMENT TO VIEW ADULT MATERIAL
 The site is designed and intended SOLELY for ADULTS - people who are at least 18 years old (21 in AL, MS, NE, and WY)-- who are interested in and wish to have access to visual images, verbal descriptions and au
 sounds of a sexually oriented, frankly erotic nature. The materials which are available within this site may include graphic visual depictions and descriptions of nudity and sexual activity and should NOT be accessed by anyo
 who is younger than 18 years old (21 in AL, MS, NE, and WY) or who does not wish to be exposed to such materials. By purchasing a Membership you are making the following statements:

 "Under penalty of perjury, I swear/affirm that as of this moment, I am an adult, at least 18 years of age (21 in AL, MS, NE, and WY)." "I promise that I will not permit any person(s) under 18 years of age (21 in AL, MS, NE, a
 WY) to have access to any of the materials contained within this site." "I understand that when I gain access to this site, I will be exposed to visual images, verbal descriptions and audio sounds of a sexually oriented, fran
 erotic nature, which may include graphic visual depictions and descriptions of nudity and sexual activity. I am voluntarily choosing to do so, because I want to view, read and/or hear the various materials which are available,
 my own personal enjoyment, information and/or education. My choice is a manifestation of my interest in sexual matters, which is both healthy and normal and, which, in my experience, is generally shared by average adult
 my community. I am familiar with the standards in my community regarding the acceptance of such sexually oriented materials, and the materials I expect to encounter are within those standards. In my judgment, the avera
 adult in my community accepts the consumption of such materials by willing adults in circumstances such as this which offer reasonable insulation from the materials for minors and unwilling adults, and will not find su
 materials to appeal to a prurient interest or to be patently offensive."

 ADDITIONAL TERMS AND CONDITIONS
 In addition to these Terms and Conditions, the site may have additional Terms and Conditions that are an integral part of this Agreement. All Terms and Conditions apply to HVL, the site, and you. I agree to the Terms a
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 Subscribers who opt for a limited trial subscription are entitiled to a limited access to the members section of the site for a period of 2 days. Limitations may include but are not limited to; access to some movie parts a
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 If any provision of this Agreement shall be held to be invalid or unenforceable for any reason, the remaining provisions shall continue to be valid and enforceable. If a court finds that any of this Agreement is invalid
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 The subscriber's e-mail address may be used by the site to communicate special offers and other relevant information such as new services, subscription information, etc. In addition, there may be occasions when a subscri
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 promotional or special event materials. These communications shall be deemed to be opt-in email communications by virtue of the subscriber joining this site.The permission to send these communications shall continue to
 in effect until opted out by the subscriber.

 The subscriber may opt-out of a mailing list by clicking on the removal link located at the bottom of the promotional email or by visiting the site:


 CONTACT INFORMATION
 E-mail us at and one of our Customer Support people will be happy to reply to your request. A response will be forwarded to your E-mail address within a reasonable delay.

 HVL cyberweb solutions inc.
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https://web.archive.org/web/20150217140323/http://hd.sex.com/terms.html                                                                                                                                     Page 2 of 2
Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 33 of 195




                 EXHIBIT “34”
Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 34 of 195
Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 35 of 195
Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 36 of 195
Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 37 of 195
Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 38 of 195
Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 39 of 195
Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 40 of 195
Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 41 of 195
Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 42 of 195
Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 43 of 195
Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 44 of 195
Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 45 of 195
Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 46 of 195
Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 47 of 195




                 EXHIBIT “35”
         Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 4810/15/15,
2257 - sex                                                                            of 1954:17 PM




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  B. Hurdle                                                 Oldrich Widman                                           Patrick Collins
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                                                                                                                                                                              Wickham Cays 1,
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  CHATSWORTH, CA 91311                                      North Hollywood,                                         CHATSWORTH, CA 91311                                     Canoga Park, CA 91304
  818-886-3399                                              CA 91605                                                 USA                                                      USA

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                                                                                                                     12 Irwin Ave
  Chatsworth, CA 91311                                      Studio City, California                                                                                           Van Nuys, CA 91405
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  Lake Forest, CA 92630                                     Tucson, AZ 85712                                         Los Angelas, CA 90069                                    Chatsworth, CA 91311
  USA                                                       USA                                                      USA                                                      USA

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  Chatsworth, CA 91311                                      Sherman Oaks, CA 91403                                   Arleta, CA, 91331                                        west hills ca 91304, USA
  USA                                                       USA                                                      USA                                                      USA

  Bobby Rinaldi                                             C. Britt                                                 City Girls                                               CJ
  21418 Parthenia St.                                       21018 Osborne Str. Unit #2                               255 West 36th Street #204                                28347 Balkins Dr.
  Canoga Park CA 91304                                      Canoga Park, CA 91304                                    New York, NY 10018                                       Agoura Hills, CA 91301
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  Centre, Thessalonikis Street, 3025 Limassol               New York, NY 10016                                       Van Nuys, CA 91405                                       Chatsworth, CA, 91311
  Cyprus                                                    USA                                                      USA                                                      USA

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                                                                                                                     D. Streubel
  20339 Nordhoff St.                                        9547 Cozycroft Ave.                                                                                               20339 nordoff St.
                                                                                                                     6911 Lochau Toni Russ Str.8
  Chatsworth, CA 91311                                      Chatsworth CA 91311                                                                                               Chatsworth, CA 91311
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  USA                                                       USA                                                                                                               USA

  Defiance Films                                            DNA Movies                                               Dreamland Video                                          Emily Rigby
  5146 Douglas Fir Road                                     62 West 37th Street                                      9158 Eton Ave.                                           7880 W 20th Ave, Studio 41
  Calabasas, CA. 91302                                      New York, NY 10016                                       Chatsworth, CA 91311                                     Hialeah FL 33016
  USA                                                       USA                                                      USA                                                      USA

  Eye Candy Productions                                     G. Alves                                                 G. Poole Custodian of Records                            Gabor Szabo
  9620 Sepulveda Blvd, North Hilla                          8944 Mason Ave. Chastworth                               15041 Calvert St. Van Nuys                               7650 Gloria Avenue Van Nuys
  CA 91343                                                  CA 91311                                                 CA 91411                                                 CA 91406
  USA                                                       USA                                                      USA                                                      USA

  H. Jose                                                   Hardline Entertainment                                   Hell's Ground Productions                                J .Colmenero
  9537 Cozycroft Avenue                                     800 Petrolia Road Unit 18                                2150 Ward                                                9223 Owensmouth Avenue
  Chatsworth, CA 91311                                      North York, Ontario M3J 3K4                              Ville St. Laurent H4M 1T7 Quebec                         Chatsworth CA 91311
  USA                                                       Canada                                                   Canada                                                   USA

  J Cumming                                                 J Simpson                                                J. Knowles                                               J. Lane
  9960 Canoga Ave, Suite D-6                                9811 Owensmouth Ave. Chatsworth                          9800 D Topanga Cyn Blvd #602                             9555 Owensmouth, Suite 9
  Chatsworth CA 91311                                       CA 91335                                                 Chatsworth CA 91311                                      Chatsworth, CA 91311
  USA                                                       USA                                                      USA                                                      USA



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         Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 4910/15/15,
2257 - sex                                                                            of 1954:17 PM

  J. Melendy, Presient                                     J. Resnick                                              J. Richman & B. Mendleson                               Jeff Krull
  9644 Lurline Ave                                         10 East 33rd St.                                        8955 Fullbright Ave.                                    9744 CozyCroft Ave.
  Chatsworth, CA 91311                                     New York, NY 10016                                      Chatsworth, CA 91311                                    Chatsworth, CA. 91311
  USA                                                      USA                                                     USA                                                     USA

  K. Beechum                                               K. Ho Pink Visual Productions                           K. Jacoby/D. Wegner                                     Kerkeland 2
  9400 Elton Ave                                           6614 E. Tanque Verde Rd.                                20850 Dearborn Street                                   6651 KN
  Chatsworth, CA 91311                                     Tucson, AZ 85715                                        Chatsworth, CA 91311                                    Druten
  USA                                                      USA                                                     USA                                                     Netherlands

  L. Moore                                                 Larry Field                                             M. Chalfin                                              M. Blank
  9161 Deering Avenue                                      8975 FullBright Ave                                     9718 Glenoaks Blvd. Unit T                              2717 South El Camino Real
  Chatsworth, CA 91311                                     Chatsworth CA. 91311                                    Sun Valley CA 91352                                     San Clement CA 92672
  USA                                                      USA                                                     USA                                                     USA

  M. Esposito                                              M. Rothstein Coast to Coast                             M. Sherwood                                             M. Snyder
  21638 Lassen St.                                         39 W. 19th st.                                          9751 Independence Ave.                                  9155 Deering Ave.
  Chatsworth, CA 91311                                     N.Y, NY 10011                                           Chatsworth, CA 91311                                    Chatsworth, CA 91311
  USA                                                      USA                                                     USA                                                     USA

  M. Stuart                                                M. Weston                                               Micheal Rubinstien PMB                                  Mr. Alex Katz In-X-Cess Productions, Inc.
  8910 Independence aven                                   21414 Chase St. #1                                      22425 Ventura Blvd., #110                               9400 Lurline Ave. Unit F
  Canoga Park, CA 91304                                    Canoga Park, CA 91304                                   Woodland Hills, CA 91364                                Chatsworth, CA 91311
  USA                                                      USA                                                     USA                                                     USA

  Mr. Patrick Collins                                      P. Busey                                                P. Harvey                                               R. Barron
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  Chatsworth, CA 913111                                    Chatsworth, CA, 91311                                   Hillsborough, NC 27278                                  Van Nuys, CA 91405
  USA                                                      USA                                                     USA                                                     USA

  R. Duak                                                  R. Enrique                                              R. Feig                                                 R. Herrera
  7722 Densmore Ave.                                       9327 Deering Avenue                                     20821 Deerborn Street                                   8944 Mason Ave
  Van Nuys, CA 91406                                       Chatsworth, CA 91311                                    Chatsworth, CA 91311                                    Chatsworth CA 91311
  USA                                                      USA                                                     USA                                                     USA

  R. Karch                                                 Robert Genova                                           S - Brickman                                            S. Apai
  20740 Marilla Street                                     21601 Devonshire St. Suite 125                          18021 Remmet Ave                                        7745 Alabama Ave Suite 1
  Chatsworth, CA 91311                                     Chatsworth,CA 91311                                     Canoga Park, CA 91304                                   Canoga Park, CA 91304
  USA                                                      USA                                                     USA                                                     USA

  S. Entin                                                 S. Menta Platinum X Pictures                            S. Wall                                                 S. Zingerman
  14141 Covello Street Suite 5C                            21018 Osborne St. #5                                    9619 Canoga Ave.                                        21817 Plummer Street. Suite C
  Van Nuys, CA, 91405                                      Canoga Park, CA 91303                                   Chatsworth, CA 91311                                    Chatsworth, CA, 91311
  USA                                                      USA                                                     USA                                                     USA

  Sheldon Baer                                                                                                     VCA Labs Inc                                            Visage Films
                                                           Simon Stevinstraat 7
  5362 Cahuenga Blvd.                                                                                              9650 DeSoto Avenue                                      702 Red Arrow Trail
                                                           4004 JV, Tiel
  North Hollywood,CA 91601                                                                                         Chatsworth, CA 91311                                    Palm Desert, CA 92211
                                                           The Netherlands
  USA                                                                                                              USA                                                     USA

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Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 50 of 195




                 EXHIBIT “36”
       Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 5110/15/15,
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       Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 5210/15/15,
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                                                                                                                traﬃc_type=desktop)




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                                              Popunder       N/A                    N/A       8.5 millions       (/about/advertising?
                                                                                                                traﬃc_type=desktop)



                                                          Sex.com - Smart Phones

                                                Spot      Screenshot          Dimension        Monthly                 Price
                                                                                             Impressions




                                                                                                                     Contact Us
                                               Mobile
                                                                               300x100       67.8 millions       (/about/advertising?
                                               Header
                                                                                                              traﬃc_type=smart_phone)




http://www.sex.com/about/advertise                                                                                                Page 2 of 4
       Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 5310/15/15,
Interested in Advertising with Sex.com? | Sex.com                                   of 1954:19 PM




                                                                                                                                   Contact Us
                                               Mobile
                                                                                             300x250     67.8 millions         (/about/advertising?
                                               Footer
                                                                                                                            traﬃc_type=smart_phone)




                                                                                                                                   Contact Us
                                               Mobile
                                                                       N/A                     N/A        3.9 millions         (/about/advertising?
                                              Popunder
                                                                                                                            traﬃc_type=smart_phone)



                                                               Sex.com - Feature Phones (WAP)

                                               Spot              Screenshot               Dimension      Monthly                     Price
                                                                                                       Impressions




                                               Wap                                                                       Contact Us (/about/advertising?
                                                                                           300x150      42 millions
                                              Header                                                                       traﬃc_type=feature_phone)




                                               Wap                                                                       Contact Us (/about/advertising?
                                                                                           300x250      42 millions
                                              Footer                                                                       traﬃc_type=feature_phone)




                                                         Need more info? Contact Us (mailto:advertising@sex.com?subject=Advertising Page)



http://www.sex.com/about/advertise                                                                                                               Page 3 of 4
         Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 5410/15/15,
Interested in Advertising with Sex.com? | Sex.com                                     of 1954:19 PM




©2015 Sex.com - About us (/about/us) - How it Works (/about/howitworks) - Etiquette (/about/etiquette) - Terms of Use (/about/terms) - Privacy (/about/privacy) - DMCA (/about/dmca) - 2257 (/about/compliance)
                                                                          - Help (/about/faq) - Advertise with Us (/about/advertise)

                                                                                                    (http://www.rtalabel.org)




http://www.sex.com/about/advertise                                                                                                                                                              Page 4 of 4
Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 55 of 195




                 EXHIBIT “37”
Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 56 of 195
Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 57 of 195
Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 58 of 195




                 EXHIBIT “38”
Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 59 of 195
| ICANN WHOIS                                                              http://whois.icann.org/en/lookup?name=sexcams.com
         Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 60 of 195

                        简体中文      English   Français   Русский   Español   ‫العربية‬   Portuguese




            sexcams.com                                  Lookup




                Name: DOMAIN                Name: DOMAIN                   Name: DOMAIN
                HOSTMASTER                  HOSTMASTER                     HOSTMASTER
                Organization: ICF           Organization: ICF              Organization: ICF
                Technology, Inc             Technology, Inc                Technology, Inc
                Mailing Address: PO Box     Mailing Address: PO Box        Mailing Address: PO Box
                21508, SEATTLE WA           21508, SEATTLE WA              21508, SEATTLE WA
                98111 US                    98111 US                       98111 US
                Phone: +1.2063740374        Phone: +1.2063740374           Phone: +1.2063740374
                Ext: N/A                    Ext: N/A                       Ext: N/A
                Fax:                        Fax:                           Fax:
                Fax Ext: N/A                Fax Ext: N/A                   Fax Ext: N/A
                Email:                      Email:                         Email:
                HOSTMASTER@GILLIAM.         HOSTMASTER@GILLIAM.            HOSTMASTER@GILLIAM.
                USERS.FLYINGCROC.NE         USERS.FLYINGCROC.NE            USERS.FLYINGCROC.NE
                T                           T                              T




                WHOIS Server: whois.fabulous.com             Domain Status: clientDeleteProhibited



1 of 4                                                                                                    10/9/2015 1:03 PM
| ICANN WHOIS                                                      http://whois.icann.org/en/lookup?name=sexcams.com
         Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 61 of 195

                URL: http://www.fabulous.com         Domain Status: clientTransferProhibited
                Registrar: FABULOUS.COM PTY LTD.
                IANA ID: 411
                Abuse Contact Email:
                abuse@fabulous.com
                Abuse Contact Phone: +61.730070015




                Updated Date: 2014-06-05             ns1.flyingcroc.net
                Created Date: 1998-07-31             ns2.flyingcroc.net
                Registration Expiration Date:
                2021-07-29




                Domain Name: sexcams.com
                Registry Domain ID:
                Registrar WHOIS Server: whois.fabulous.com
                Registrar URL: http://www.fabulous.com
                Updated Date: 2014-06-05T17:42:01Z
                Creation Date: 1998-07-31T04:00:00Z
                Registrar Registration Expiration Date: 2021-07-30T00:00:00Z
                Registrar: FABULOUS.COM PTY LTD.
                Registrar IANA ID: 411
                Registrar Abuse Contact Email: abuse@fabulous.com
                Registrar Abuse Contact Phone: +61.730070015
                Reseller: N/A
                Domain Status: clientDeleteProhibited
                Domain Status: clientTransferProhibited
                Registry Registrant ID: N/A
                Registrant Name: DOMAIN HOSTMASTER
                Registrant Organization: ICF Technology, Inc
                Registrant Street: PO Box 21508
                Registrant City: SEATTLE
                Registrant State/Province: WA
                Registrant Postal Code: 98111
                Registrant Country: US
                Registrant Phone: +1.2063740374
                Registrant Phone Ext: N/A
                Registrant Fax:



2 of 4                                                                                            10/9/2015 1:03 PM
| ICANN WHOIS                                                                http://whois.icann.org/en/lookup?name=sexcams.com
          Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 62 of 195
                Registrant Fax Ext: N/A
                Registrant Email: HOSTMASTER@GILLIAM.USERS.FLYINGCROC.NET
                Registry Admin ID: N/A
                Admin Name: DOMAIN HOSTMASTER
                Admin Organization: ICF Technology, Inc
                Admin Street: PO Box 21508
                Admin City: SEATTLE
                Admin State/Province: WA
                Admin Postal Code: 98111
                Admin Country: US
                Admin Phone: +1.2063740374
                Admin Phone Ext: N/A
                Admin Fax:
                Admin Fax Ext: N/A
                Admin Email: HOSTMASTER@GILLIAM.USERS.FLYINGCROC.NET
                Registry Tech ID: N/A
                Tech Name: DOMAIN HOSTMASTER
                Tech Organization: ICF Technology, Inc
                Tech Street: PO Box 21508
                Tech City: SEATTLE
                Tech State/Province: WA
                Tech Postal Code: 98111
                Tech Country: US
                Tech Phone: +1.2063740374
                Tech Phone Ext: N/A
                Tech Fax:
                Tech Fax Ext: N/A
                Tech Email: HOSTMASTER@GILLIAM.USERS.FLYINGCROC.NET
                Name Server: ns1.flyingcroc.net
                Name Server: ns2.flyingcroc.net
                DNSSEC: unsigned
                URL of the ICANN WHOIS Data Problem Reporting System:
                http://wdprs.internic.net/
                >>> Last update of WHOIS database: 2015-10-09T13:00:00Z <<<




             Submit a Complaint for WHOIS
             WHOIS Inaccuracy Complaint Form
             WHOIS Service Complaint Form

             WHOIS Compliance FAQs



         NOTICE, DISCLAIMERS AND TERMS OF USE:

         All results shown are captured from registries and/or registrars and are framed in real-time. ICANN
         does not generate, collect, retain or store the results shown other than for the transitory duration


3 of 4                                                                                                      10/9/2015 1:03 PM
| ICANN WHOIS                                                                  http://whois.icann.org/en/lookup?name=sexcams.com
           Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 63 of 195

         necessary to show these results in response to real-time queries.* These results are shown for the
         sole purpose of assisting you in obtaining information about domain name registration records and for
         no other purpose. You agree to use this data only for lawful purposes and further agree not to use
         this data (i) to allow, enable, or otherwise support the transmission by email, telephone, or facsimile of
         mass unsolicited, commercial advertising, or (ii) to enable high volume, automated, electronic
         processes to collect or compile this data for any purpose, including without limitation mining this data
         for your own personal or commercial purposes. ICANN reserves the right to restrict or terminate your
         access to the data if you fail to abide by these terms of use. ICANN reserves the right to modify these
         terms at any time. By submitting a query, you agree to abide by these terms.

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         does collect, generate, retain and store information regarding registrations in the .int TLD.


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4 of 4                                                                                                        10/9/2015 1:03 PM
| ICANN WHOIS                                                                 http://whois.icann.org/en/lookup?name=sancdn.net
         Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 64 of 195

                        简体中文      English   Français   Русский   Español   ‫العربية‬   Portuguese




                Name: Domain Manager        Name: Domain Manager           Name: Domain Manager
                Organization: ICF           Organization: ICF              Organization: ICF
                Technology, Inc             Technology, Inc                Technology, Inc
                Mailing Address: PO Box     Mailing Address: PO Box        Mailing Address: PO Box
                21508, Seattle WA 98111     21508, Seattle WA 98111        21508, Seattle WA 98111
                US                          US                             US
                Phone: +1.2063740374        Phone: +1.2063740374           Phone: +1.2063740374
                Ext:                        Ext:                           Ext:
                Fax:                        Fax:                           Fax:
                Fax Ext:                    Fax Ext:                       Fax Ext:
                Email:hostmaster@icftechn   Email:hostmaster@icftechn      Email:hostmaster@icftechn
                ology.com                   ology.com                      ology.com




                WHOIS Server: whois.srsplus.com              Domain Status:clientTransferProhibited
                URL: http://srsplus.com                      http://icann.org
                Registrar: TLDS LLC. d/b/a SRSPlus           /epp#clientTransferProhibited
                IANA ID: 320
                Abuse Contact Email:abuse@web.com
                Abuse Contact Phone: +1.8773812449




1 of 4                                                                                                     10/9/2015 1:04 PM
| ICANN WHOIS                                                        http://whois.icann.org/en/lookup?name=sancdn.net
         Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 65 of 195


                                                  Lookup


                Updated Date: 2013-06-03             ns1.flyingcroc.net
                Created Date: 2011-08-18             ns2.flyingcroc.net
                Registration Expiration Date:
                2016-08-18




                Domain Name: sancdn.net
                Registry Domain ID: 1672710974_DOMAIN_NET-VRSN
                Registrar WHOIS Server: whois.srsplus.com
                Registrar URL: http://srsplus.com
                Updated Date: 2013-06-03T21:08:29Z
                Creation Date: 2011-08-18T23:36:16Z
                Registrar Registration Expiration Date: 2016-08-18T23:36:16Z
                Registrar: TLDS LLC. d/b/a SRSPlus
                Registrar IANA ID: 320
                Registrar Abuse Contact Email: abuse@web.com
                Registrar Abuse Contact Phone: +1.8773812449
                Reseller:
                Domain Status: clientTransferProhibited http://icann.org
                /epp#clientTransferProhibited
                Registry Registrant ID:
                Registrant Name: Domain Manager
                Registrant Organization: ICF Technology, Inc
                Registrant Street: PO Box 21508
                Registrant City: Seattle
                Registrant State/Province: WA
                Registrant Postal Code: 98111
                Registrant Country: US
                Registrant Phone: +1.2063740374
                Registrant Phone Ext.:
                Registrant Fax:
                Registrant Fax Ext.:
                Registrant Email: hostmaster@icftechnology.com
                Registry Admin ID:
                Admin Name: Domain Manager
                Admin Organization: ICF Technology, Inc
                Admin Street: PO Box 21508
                Admin City: Seattle
                Admin State/Province: WA
                Admin Postal Code: 98111
                Admin Country: US


2 of 4                                                                                            10/9/2015 1:04 PM
| ICANN WHOIS                                                     http://whois.icann.org/en/lookup?name=sancdn.net
         Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 66 of 195


                                                  Lookup
                Admin Fax Ext.:
                Admin Email: hostmaster@icftechnology.com
                Registry Tech ID:
                Tech Name: Domain Manager
                Tech Organization: ICF Technology, Inc
                Tech Street: PO Box 21508
                Tech City: Seattle
                Tech State/Province: WA
                Tech Postal Code: 98111
                Tech Country: US
                Tech Phone: +1.2063740374
                Tech Phone Ext.:
                Tech Fax:
                Tech Fax Ext.:
                Tech Email: hostmaster@icftechnology.com
                Name Server: ns1.flyingcroc.net
                Name Server: ns2.flyingcroc.net
                DNSSEC: Unsigned
                URL of the ICANN WHOIS Data Problem Reporting System:
                http://wdprs.internic.net/
                >>> Last update of WHOIS database: 2013-06-03T21:08:29Z <<<

                For more information on Whois status codes, please visit
                https://www.icann.org/resources/pages/epp-status-codes-
                2014-06-16-en.

                The data in SRSPlus's WHOIS database is provided to you by
                SRSPlus for information purposes only, that is, to assist you in
                obtaining information about or related to a domain name
                registration
                record. SRSPlus makes this information available "as is," and
                does not guarantee its accuracy. By submitting a WHOIS query,
                you
                agree that you will use this data only for lawful purposes and
                that,
                under no circumstances will you use this data to: (1) allow,
                enable,
                or otherwise support the transmission of mass unsolicited,
                commercial
                advertising or solicitations via direct mail, electronic mail,
                or by
                telephone; or (2) enable high volume, automated, electronic
                processes
                that apply to SRSPlus (or its systems). The compilation,
                repackaging, dissemination or other use of this data is
                expressly
                prohibited without the prior written consent of SRSPlus.
                SRSPlus reserves the right to modify these terms at any time.


3 of 4                                                                                         10/9/2015 1:04 PM
| ICANN WHOIS                                                                    http://whois.icann.org/en/lookup?name=sancdn.net
           Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 67 of 195


                                                             Lookup


             Submit a Complaint for WHOIS
             WHOIS Inaccuracy Complaint Form
             WHOIS Service Complaint Form

             WHOIS Compliance FAQs



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         All results shown are captured from registries and/or registrars and are framed in real-time. ICANN
         does not generate, collect, retain or store the results shown other than for the transitory duration
         necessary to show these results in response to real-time queries.* These results are shown for the
         sole purpose of assisting you in obtaining information about domain name registration records and for
         no other purpose. You agree to use this data only for lawful purposes and further agree not to use
         this data (i) to allow, enable, or otherwise support the transmission by email, telephone, or facsimile of
         mass unsolicited, commercial advertising, or (ii) to enable high volume, automated, electronic
         processes to collect or compile this data for any purpose, including without limitation mining this data
         for your own personal or commercial purposes. ICANN reserves the right to restrict or terminate your
         access to the data if you fail to abide by these terms of use. ICANN reserves the right to modify these
         terms at any time. By submitting a query, you agree to abide by these terms.

         * There is one exception: ICANN acts as the registry operator for the .int TLD, and in that capacity it
         does collect, generate, retain and store information regarding registrations in the .int TLD.


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4 of 4                                                                                                        10/9/2015 1:04 PM
Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 68 of 195




                 EXHIBIT “39”
          Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 6910/15/15,
MyFreeCams.com WHOIS, DNS, & Domain Info - DomainTools                                 of 1954:40 PM




 Home > Whois Lookup > MyFreeCams.com


                                                                                                                                                      How does this work?
 Whois Record for MyFreeCams.com
                                                                                                            # Preview the Full Domain Report
   Related Domains For Sale or At Auction                                     1    2   3
                                                                                                    Tools
                                                                              More >
     CamSupport.com ($2,588)                         LiveCamStudios.com ($2,595)
     OnlineMarketingScams.com ($2,588)               CamSecrets.com ($988)                              Whois History            Hosting History

                                                                                                    Monitor Domain Properties                     $

                                                                                                    Reverse Whois Lookup                          $
 − Whois & Quick Stats
                                                                                                    Reverse IP Address Lookup                     $
  Email                                  is associated with ~749,171                            "
                     domains                                                                        Reverse Name Server Lookup                    $

                                                                                                    Network Tools                                 $

  Registrar          MONIKER ONLINE SERVICES LLC                                                      Buy This Domain $           Visit Website

  Registrar Status   clientDeleteProhibited, clientTransferProhibited, clientUpdateProhibited                   View Screenshot History

  Dates              Created on 2002-03-19 - Expires on 2019-03-19 -                            "   Available TLDs
                     Updated on 2009-06-02
                                                                                                     General TLDs       Country TLDs
  Name Server(s)     NS1.METAPEER.COM (has 181 domains)                                         "
                     NS2.METAPEER.COM (has 181 domains)
                                                                                                    The following domains are available through
  IP Address         207.229.73.117 - 1 other site is hosted on this server                     "   our preferred partners. Select domains
                                                                                                    below for more information. (3rd party site)
  IP Location           - Washington - Newcastle - Metapeer
                                                                                                       Taken domain.
  ASN                   AS13331 METAPEER-INC - MetaPeer (registered May 12, 1999)                      Available domain.
                                                                                                       Deleted previously owned domain.
  Domain Status      Registered And Active Website

  Whois History      2,477 records have been archived since 2003-12-28                          "    MyFreeCams.com                    View Whois

  IP History         6 changes on 5 unique IP addresses over 11 years                           "    MyFreeCams.net                    View Whois

  Registrar          2 registrars with 1 drop                                                   "    MyFreeCams.org                    View Whois
  History
                                                                                                     MyFreeCams.info                   View Whois
  Hosting History    5 changes on 5 unique name servers over 12 years                           "
                                                                                                      MyFreeCams.biz                   View Whois
  Whois Server       whois.moniker.com
                                                                                                      MyFreeCams.us                    View Whois
 − Website

  Website Title          MyFreeCams - The #1 adult webcam community.                            "
                     Free live webcams and video-chat.

  Server Type        Apache

  Response Code      200

  SEO Score          82%

  Terms              14402 (Unique: 3155, Linked: 32)

  Images             1 (Alt tags missing: 1)

  Links              10 (Internal: 1, Outbound: 0)

 Whois Record ( last updated on 2015-10-15 )

   Domain Name: myfreecams.com
   Registry Domain ID: 84622115_DOMAIN_COM-VRSN
   Registrar WHOIS Server: whois.moniker.com
   Registrar URL: http://www.moniker.com
   Updated Date: 2009-06-02T21:02:25.0Z
   Creation Date: 2002-03-19T04:18:38.0Z
   Registrar Registration Expiration Date: 2019-03-19T03:18:38.0Z
   Registrar: Moniker Online Services LLC
   Registrar IANA ID: 228
   Registrar Abuse Contact Email:
   Registrar Abuse Contact Phone: +1.9546071294



http://whois.domaintools.com/myfreecams.com                                                                                                                Page 1 of 2
       Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 7010/15/15,
MyFreeCams.com WHOIS, DNS, & Domain Info - DomainTools                              of 1954:40 PM

   Domain Status: clientDeleteProhibited http://www.icann.org/epp#clientD
   eleteProhibited
   Domain Status: clientTransferProhibited http://www.icann.org/epp#clien
   tTransferProhibited
   Domain Status: clientUpdateProhibited http://www.icann.org/epp#clientU
   pdateProhibited
   Registry Registrant ID:
   Registrant Name: Legal Department
   Registrant Organization: ActiveSoft Inc.
   Registrant Street: 2123 Warwick Lane
   Registrant City: Glenview
   Registrant State/Province: IL
   Registrant Postal Code: 60026
   Registrant Country: US
   Registrant Phone: +1.3122520586
   Registrant Phone Ext:
   Registrant Fax:
   Registrant Fax Ext:
   Registrant Email:
   Registry Admin ID:
   Admin Name: Legal Department
   Admin Organization: ActiveSoft Inc.
   Admin Street: 2123 Warwick Lane
   Admin City: Glenview
   Admin State/Province: IL
   Admin Postal Code: 60026
   Admin Country: US
   Admin Phone: +1.3122520586
   Admin Phone Ext:
   Admin Fax:
   Admin Fax Ext:
   Admin Email:
   Registry Tech ID:
   Tech Name: Legal Department
   Tech Organization: ActiveSoft Inc.
   Tech Street: 2123 Warwick Lane
   Tech City: Glenview
   Tech Postal Code: 60026
   Tech State/Province: IL
   Tech Country: US
   Tech Phone: +1.3122520586
   Tech Phone Ext:
   Tech Fax:
   Tech Fax Ext:
   Tech Email:
   Name Server: ns1.metapeer.com
   Name Server: ns2.metapeer.com
   DNSSEC: unsigned
   URL of the ICANN WHOIS Data Problem Reporting System: http://wdprs.int
   ernic.net/

   Registry Billing ID:
   Billing Name: Legal Department
   Billing Organization: ActiveSoft Inc.
   Billing Street: 2123 Warwick Lane
   Billing City: Glenview
   Billing State/Province: IL
   Billing Postal Code: 60026
   Billing Country: US
   Billing Phone: +1.3122520586
   Billing Phone Ext:
   Billing Fax:
   Billing Fax Ext:
   Billing Email:




  %   &   '    +                                             Sitemap   Blog   Terms of Service   Privacy Policy   Contact Us   Domain News   © 2015 DomainTools




http://whois.domaintools.com/myfreecams.com                                                                                                        Page 2 of 2
Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 71 of 195




                 EXHIBIT “40”
       Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 7210/15/15,
Billing Help - Wiki.MyFreeCams.com                                                  of 1954:39 PM



Billing Help
From Wiki.MyFreeCams.com
                                                                                Information for Members
 Contents                                                        Instructions and Features
         1 General information                                   Rules and Guidelines
         2 Privacy and security
                                                                 Technical Help
         3 Payment methods
         4 Billing companies and descriptions                    Billing Help
         5 Declined and pending transactions
         6 Delayed charges
         7 Overcharges
         8 Foreign currencies
         9 Card declined
         10 Refund policy
                10.1 Token refunds
                10.2 Monetary refunds
                10.3 Unauthorized refunds
         11 Disputed charges and fraud
                11.1 Repayment



General information
        Access and membership to this site is absolutely free.
        The only time you will be charged is when you decide to purchase tokens.
        All purchases are one-time charges, meaning you will never be charged again for the same purchase.
        We do NOT use recurring charges or use other deceptive billing practices.
        Since we have no paid memberships or subscriptions, there is never a need cancel your account. You will
        never be charged again.
        There are NO coupons, sales, or bulk-purchase discounts. Tokens packages are always the same price for
        everyone.
        Your satisfaction is 100% guaranteed. Please see our Refund policy below.

Privacy and security
        Your privacy and security are our top priorities.
        We will never send anything to your postal mail address.
        All transactions are handled by trusted third-party billing companies, listed below. (This means we do not
        have access to your credit card information.)
        All transactions pass through secure servers utilizing 128-bit encryption.

http://wiki.myfreecams.com/wiki/Billing_Help                                                              Page 1 of 6
       Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 7310/15/15,
Billing Help - Wiki.MyFreeCams.com                                                  of 1954:39 PM


Payment methods
Please see the Payment Methods page for more information on the payment methods we accept and how they
work.

Billing companies and descriptions
All purchases are handled by one of the following secure and trusted third-party payment processors.

        Epoch
             Homepage: http://www.epoch.com
             Customer Support: https://epoch.com/billingsupport/
             "EPOCH.COM *ACTIVESOFT" will appear on your cardholder statement.

        CCBill
            Homepage: http://www.ccbill.com
            Customer Support: https://support.ccbill.com
            "CCBill.com *ActiveSoft" will appear on your cardholder statement.

        Zombaio / IOBilling.com (not currently used)
            Homepage: http://www.zombaio.com/
            Customer Support: http://support.zombaio.com
            "ZOMBAIO" will appear on your cardholder statement.

        NetBilling / MFCBill.com
             Homepage: http://www.netbilling.com/
             Customer Support: http://www.mfcbill.com/
             "MFCBill.com*Tokens" will appear on your cardholder statement.

        Rocketgate / MFCGate.com (in testing)
             Homepage: http://www.rocketgate.com/
             Customer Support: http://www.mfcgate.com/
             "MFCGate.com*Tokens" will appear on your cardholder statement.

        VXSBill / MFCBill.com (not currently used)
            Homepage: http://www.vxsbill.com/
            Customer Support: http://www.mfcbill.com/
            "MFCBill.com*TokensV" will appear on your cardholder statement.

Declined and pending transactions
In rare cases, when a credit card purchase is declined, you may still see a pending charge on your credit card
balance for a few days. This pending charge will go away by itself within 7-10 business days and you will not
be charged anything since the purchase was declined.


http://wiki.myfreecams.com/wiki/Billing_Help                                                            Page 2 of 6
       Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 7410/15/15,
Billing Help - Wiki.MyFreeCams.com                                                  of 1954:39 PM

This situation happens more often with the payment processors CCBill and Netbilling, and less often with
Epoch.

Here is the technical explanation:

This unusual situation may arise when your credit card bank approves the transaction but the payment processor
still denies the transaction because, for example, the address you entered did not match the billing address or
your CVV2 number was incorrect. In this case, the credit card puts a hold on the funds for up to 7-10 days, but
since the payment processor declined the transaction, the funds will not be withdrawn.

The only way for the hold to be released early (before it goes away naturally in a few days) is for the payment
processor to fax an authorization letter to the credit card bank, which they will not do because it is impractical.
So please be patient and just wait the few days for the hold to be released.

Based on our experience, this happens more often with debit cards, and it is particularly annoying when it
happens with gift cards and pre-paid cards. The funds will be released back to the gift card, but it just takes
longer.

Please understand that there is absolutely nothing we can do to help or speed up the process.

Delayed charges
In some cases, a purchase may show up on your credit card statement as having been made on a different date,
usually a day or two after you actually made the purchase.

This can happen for a number of reasons such as bank holidays, weekends, differences in time zones across
countries, etc.

It may look as if you were double-charged or otherwise over-billed when you see more transactions on a given
date than you made, so just keep in mind that they are likely just transactions from a previous day.

There is absolutely no way for us to double-charge you for a single purchase.

Overcharges
The prices you are charged for token packages are clearly posted and we never charge any additional fees.

However, in very rare cases, some customers have reported that the amount they see charged on their bank
statement is slightly higher than the posted price.

This may be for one of the following reasons:

    1. The higher price on the bank statement is the authorization and not the settled charge. Sometimes
       payment processors authorize cards for slightly more than the transaction amount but then the final settled
       charge shows up as the correct amount after a few days.

http://wiki.myfreecams.com/wiki/Billing_Help                                                                Page 3 of 6
       Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 7510/15/15,
Billing Help - Wiki.MyFreeCams.com                                                  of 1954:39 PM

    2. Some credit cards, and especially debit cards, may charge various additional transaction fees which show
       up as a higher transaction amount.
    3. If you are outside of the United States or making a purchase in a currency other than US Dollars, the
       payment processor may add a surcharge for the currency conversion. This is explained in more detail in
       the next section.

If you are overcharged on a purchase, our recommendation is that you:

    1. Try using a different payment processor on future purchases.
    2. Try using a different credit card.

Foreign currencies
All of our prices are set in US Dollars.

Our payment processors use the current exchange rates to charge prices in other world currencies. These prices
may change every day as the market exchange rate changes. The currency exchange rate offered by our
payment processors will likely be slightly worse than the global market rate since that is how they charge a fee
for the currency conversion.

We offer several different payment processors so that our members can use the one that offers them the best
price.

Unlike other websites, we do not discriminate between countries and charge members from some countries
more than others.

Card declined
If you attempt to make a purchase and your card is declined, we will generally not have any additional
information as to why it was declined. Here are a few things we suggest:

    1. Call your credit card company and ask them why the charge was declined.
    2. Try using a different credit card.
    3. Try using a different payment processor.

If none of these work, please contact us for help.

Refund policy
If you would like a refund, please Contact Support and we will do our best to help you.

Token refunds
We are sometimes able to issue token refunds for:


http://wiki.myfreecams.com/wiki/Billing_Help                                                             Page 4 of 6
       Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 7610/15/15,
Billing Help - Wiki.MyFreeCams.com                                                  of 1954:39 PM

        Technical problems (the site breaks and takes your tokens.)
        Unsatisfactory private shows (please end the show as soon as possible.)

We are NOT able to issue token refunds for:

        Tips (Tips are gifts and cannot be reversed, just like in real life.)
        Group shows and spy shows (You can leave this type of show any time.)

Monetary refunds
If you have sufficient tokens in your account, we can refund any purchase made in the past 30 days back to your
credit card used to make that purchase, up to $1000.

As part of our 100% satisfaction guarantee, new members that are not satisfied with our website may contact us
for a full refund within 30 days of their purchase as long as they have not used more than 200 tokens.

Please read the Are you sure you want a Refund page first.

Unfortunately, we are unable to issue partial refunds to your credit card.

Unauthorized refunds

If you contact the payment processor or credit card company directly and ask them for a refund, our system will
automatically assume that the charge came from a stolen credit card and will therefore blacklist you from ever
returning to our website.

If you would like a refund, please Contact Support and we will refund you ourselves.

Disputed charges and fraud
Any sort of disputed charge, charge-back, stop-payment, or anything else that prevents us from collecting the
funds on a purchase that you made will be treated as fraud. Your account will be blacklisted and we will fight to
the fullest extent of the law to collect the funds for our models.

Even threatening to dispute a charge with your credit card or bank will likely lead to your being banned.

It is much easier to just Contact Support and ask for a refund.

Repayment
If a transaction results in a disputed charge by mistake, we may allow the member an opportunity to repay the
balance to bring the account back into good standing.

    1. You will need to Contact Support with a detailed explanation of what caused the disputed charge.
    2. You will receive a link that will allow you to repay the balance.

http://wiki.myfreecams.com/wiki/Billing_Help                                                                Page 5 of 6
       Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 7710/15/15,
Billing Help - Wiki.MyFreeCams.com                                                  of 1954:39 PM

    3. After repaying the balance, you will need to Contact Support again and your account will be reinstated.

NOTE: It is very important that you repay any disputed charges through our system, because if you simply call
your credit card company and have the chargebacks reversed, we do NOT receive those funds and therefore
your account would not be reinstated.

Retrieved from "http://wiki.myfreecams.com/index.php?title=Billing_Help&oldid=2704"
Category: Information for Members


        This page was last modified on 5 December 2014, at 22:01.




http://wiki.myfreecams.com/wiki/Billing_Help                                                            Page 6 of 6
Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 78 of 195




                 EXHIBIT “41”
       Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 7910/15/15,
Sex Deals - New York - Recent Redeem deals                                          of 1956:02 PM


                                                           ! "            #                                                                                                        $%              %



       Videos %       Pictures %         Categories %               Live Sex         Dating           Community %            Gay                                   SEX DEALS           SEX GAMES




              24 Hours Only!         Weekly Specials
                                                                                                                                                                     SIGN IN   SIGN UP
          The Daily Deal          Featured Deals            Favorites          Categories            Gay Deals         RealityKings $9.95 For Life!
                                                                                                                                                                 search all deals...
          Most Viewed This Week    Membership       Porn Star   18 Plus   GF's     Amateur    Milf    Big Tits   Reality   Gonzo   View All Deals

          Favorites

            Save 70% On a 30-Day Pass to Puba                                                                Featured Deal: RealityKings $9.95 for Life!




                                     Retail Price        Discount                Our Price                                             Retail Price   Discount         Our Price

                                     $29.97               70%                    $9.97                                                 $29.95         70%              $9.95




http://sex.idealgasm.com/us/new-york/live-deals?ref=787                                                                                                                                    Page 1 of 4
       Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 8010/15/15,
Sex Deals - New York - Recent Redeem deals                                          of 1956:02 PM

                                                View Most Popular Deals by Category - Click Here



                                                                           Free Sex Videos and Porn Pictures
             If you describe your appetite for sex pictures and sex videos as "insatiable", then you've finally found the perfect site to satisfy your sexual desires. Our
            site is loaded with millions of sex pictures and sex videos featuring the sexiest women in the world that you can enjoy for free. Yes, free. Even though we
               hold the record for the most expensive domain name, we let you use our XXX site for free. Even accounts are free. All you need is an email address.
             Why not make an account today? When you make an account, not only will you be able to repin and like your favorite porn pictures and porn videos but
            you can also use our special pin button to save your favorite adult content to your very own boards. If you love porn and sex then why hide it on your hard
            drive? It's so much easier to save and organize your favorite hot sex photos and sex movies online in your personalized sex boards. Other free porn sites
            with pin buttons only let you pin sex pictures. Our pin button works with everything that can be found on free porn sites. That includes sexy pictures, porn
             movies, and porn GIFs. Pin your favorite porn videos? Yes, you read that right. You can even pin your favorite free porn videos. So what are you waiting
               for? Sign up for your free account to our site and start enjoying big tits, big asses, gangbangs, female masturbation, soft erotica, nude celebrities, hot
              anal sex, blowjobs, all your favorite porn stars and so much more. If you don't start pinning, repining, and liking porn videos and sex pictures now, you
             might have trouble finding your favorite porn because sex and porn is constantly being added to our site. Our online community of men and sexy women
                                                          want to know the porn you like, so show them by signing up today.



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http://sex.idealgasm.com/us/new-york/live-deals?ref=787                                                                                                                      Page 4 of 4
Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 81 of 195




                 EXHIBIT “42”
       Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 8210/15/15,
18 U.S.C. Section 2257 Compliance Notice                                            of 1954:45 PM



 POVD
 HDV 1080p Video - Shot In High Resolution
 3D Surround Sound - Headphones Recommended


         Scenes

         Girls

         Top-Rated

         Member Login


         Join Now


 18 U.S.C. § 2257 Compliance Notice
 All models, actors, actresses and other persons that appear in any visual depiction of actual sexually explicit
 conduct appearing or otherwise contained in this Website were over the age of eighteen years at the time of
 the creation of such depictions.

 All other visual depictions displayed on this Website are exempt from the provision of 18 U.S.C. § 2257 and
 28 C.F.R. 75 because said visual depictions do not consist of depictions of conduct as specifically listed in 18
 U.S.C § 2256 (2) (A) through (D), but are merely depictions of non-sexually explicit nudity, or are depictions
 of simulated sexual conduct, or are otherwise exempt because the visual depictions were created prior to July
 3, 1995.

 With respect to all visual depictions displayed on this website, whether of actual sexually explicit conduct,
 simulated sexual content or otherwise, all persons in said visual depictions were at least 18 years of age when
 said visual depictions were created.

 The original records required pursuant to 18 U.S.C. § 2257 and 28 C.F.R. 75 for all materials contained in the
 website are kept by the following Custodian of Records:




 Scenes - Girls - Top Rated - Member Login

 Billing Support Epoch.com SegPay Support CCBill Billing Support WTSeTicket.com Support

http://povd.com/2257                                                                                      Page 1 of 2
       Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 8310/15/15,
18 U.S.C. Section 2257 Compliance Notice                                            of 1954:45 PM

  Webmasters

 Contact Us Members Login POVD Review
 18 U.S.C. § 2257 Record-Keeping Requirements Compliance Statement Terms & Conditions Privacy Policy
 For billing inquiries or to cancel your membership, pleasevisit segpay.com, or epoch.com, our authorized
 sales agents.
 Copyright 2015 POVD. All Rights Reserved.




http://povd.com/2257                                                                              Page 2 of 2
          Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 8410/15/15,
PoVd.com WHOIS, DNS, & Domain Info - DomainTools                                       of 1954:46 PM




 Home > Whois Lookup > PoVd.com


                                                                                                                                                      How does this work?
 Whois Record for PoVd.com
                                                                                                            # Preview the Full Domain Report
   Related Domains For Sale or At Auction                                       1    2    3
                                                                                                    Tools
                                                                                More >
     FloralFantasies.com ($3,488)                     FrostedFantasies.com ($399)
     FantasiesFulﬁlled.com ($1,988)                   AquaticFantasies.com ($2,595)                     Whois History            Hosting History
     PureFantasies.com ($2,499)                       InteractiveFantasies.com ($4,989)             Monitor Domain Properties                     $

                                                                                                    Reverse Whois Lookup                          $

 − Whois & Quick Stats                                                                              Reverse IP Address Lookup                     $

  Email                                                                                         "   Reverse Name Server Lookup                    $

                                                                                                    Network Tools                                 $
                                         is associated with ~749,171
                     domains                                                                          Buy This Domain $           Visit Website

                                                                                                                 View Screenshot History

                                                                                                    Available TLDs
  Registrant Org     Moniker Privacy Services is associated with ~254,212                       "
                     other domains                                                                   General TLDs       Country TLDs
  Registrar          MONIKER ONLINE SERVICES LLC
                                                                                                    The following domains are available through
  Registrar Status   clientDeleteProhibited, clientTransferProhibited, clientUpdateProhibited       our preferred partners. Select domains
                                                                                                    below for more information. (3rd party site)
  Dates              Created on 2002-05-08 - Expires on 2016-05-08 -                            "
                     Updated on 2014-07-06                                                             Taken domain.
                                                                                                       Available domain.
  Name Server(s)     NS0.REFLECTED.NET (has 6,141 domains)                                      "      Deleted previously owned domain.
                     NS1.REFLECTED.NET (has 6,141 domains)
                                                                                                     PoVd.com                          View Whois
  IP Address         209.239.167.225 - 40 other sites hosted on this server                     "
                                                                                                     PoVd.net                          View Whois
  IP Location           - Massachusetts - Waltham - Reﬂected Networks Inc.

  ASN                   AS29789 REFLECTED - Reﬂected Networks, Inc. (registered May 05,              PoVd.org                          View Whois
                     2003)
                                                                                                     PoVd.info                         Buy Domain
  Domain Status      Registered And Active Website
                                                                                                     PoVd.biz                          View Whois
  Whois History      94 records have been archived since 2000-08-28                             "
                                                                                                      PoVd.us                          View Whois
  IP History         44 changes on 10 unique IP addresses over 11 years                         "

  Registrar          3 registrars                                                               "
  History

  Hosting History    6 changes on 6 unique name servers over 13 years                           "

  Whois Server       whois.moniker.com

 − Website

  Website Title          HD POV Porn, High Deﬁnition Movies - POVD.COM                          "

  Server Type        nginx/1.4.6 (Ubuntu)

  Response Code      200

  SEO Score          93%

  Terms              435 (Unique: 245, Linked: 253)

  Images             30 (Alt tags missing: 0)

  Links              137 (Internal: 128, Outbound: 9)

 Whois Record ( last updated on 2015-10-15 )

   Domain Name: povd.com
   Registry Domain ID: 86391479_DOMAIN_COM-VRSN
   Registrar WHOIS Server: whois.moniker.com
   Registrar URL: http://www.moniker.com


http://whois.domaintools.com/povd.com                                                                                                                      Page 1 of 2
       Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 8510/15/15,
PoVd.com WHOIS, DNS, & Domain Info - DomainTools                                    of 1954:46 PM

   Updated Date: 2014-07-06T22:45:24.0Z
   Creation Date: 2002-05-08T21:56:45.0Z
   Registrar Registration Expiration Date: 2016-05-08T21:56:45.0Z
   Registrar: Moniker Online Services LLC
   Registrar IANA ID: 228
   Registrar Abuse Contact Email:
   Registrar Abuse Contact Phone: +1.9546071294
   Domain Status: clientDeleteProhibited http://www.icann.org/epp#clientD
   eleteProhibited
   Domain Status: clientTransferProhibited http://www.icann.org/epp#clien
   tTransferProhibited
   Domain Status: clientUpdateProhibited http://www.icann.org/epp#clientU
   pdateProhibited
   Registry Registrant ID:
   Registrant Name: Moniker Privacy Services
   Registrant Organization: Moniker Privacy Services
   Registrant Street: 2320 NE 9th St, Second Floor
   Registrant City: Fort Lauderdale
   Registrant State/Province: FL
   Registrant Postal Code: 33304
   Registrant Country: US
   Registrant Phone: +1.8006886311
   Registrant Phone Ext:
   Registrant Fax: +1.9545859186
   Registrant Fax Ext:
   Registrant Email:
   f96b68ec36a08d34198b84ed68cd41499d97dee25a12e486ff406b2910e6f88d@povd.
   com.whoisproxy.org
   Registry Admin ID:
   Admin Name: Moniker Privacy Services
   Admin Organization: Moniker Privacy Services
   Admin Street: 2320 NE 9th St, Second Floor
   Admin City: Fort Lauderdale
   Admin State/Province: FL
   Admin Postal Code: 33304
   Admin Country: US
   Admin Phone: +1.8006886311
   Admin Phone Ext:
   Admin Fax: +1.9545859186
   Admin Fax Ext:
   Admin Email:
   f96b68ec36a08d34198b84ed68cd41499d97dee25a12e486ff406b2910e6f88d@povd.
   com.whoisproxy.org
   Registry Tech ID:
   Tech Name: Moniker Privacy Services
   Tech Organization: Moniker Privacy Services
   Tech Street: 2320 NE 9th St, Second Floor
   Tech City: Fort Lauderdale
   Tech Postal Code: 33304
   Tech State/Province: FL
   Tech Country: US
   Tech Phone: +1.8006886311
   Tech Phone Ext:
   Tech Fax: +1.9545859186
   Tech Fax Ext:
   Tech Email:
   f96b68ec36a08d34198b84ed68cd41497b6e65ba09327ff8a786e13480ca0978@povd.
   com.whoisproxy.org
   Name Server: ns0.reflected.net
   Name Server: ns1.reflected.net
   DNSSEC: unsigned
   Whoisprivacy: 4
   URL of the ICANN WHOIS Data Problem Reporting System: http://wdprs.int
   ernic.net/

   Registry Billing ID:
   Billing Name: Moniker Privacy Services
   Billing Organization: Moniker Privacy Services
   Billing Street: 2320 NE 9th St, Second Floor
   Billing City: Fort Lauderdale
   Billing State/Province: FL
   Billing Postal Code: 33304
   Billing Country: US
   Billing Phone: +1.8006886311
   Billing Phone Ext:
   Billing Fax: +1.9545859186
   Billing Fax Ext:
   Billing Email:
   f96b68ec36a08d34198b84ed68cd41499d97dee25a12e486ff406b2910e6f88d@povd.
   com.whoisproxy.org




  %   &    '   +                                             Sitemap   Blog   Terms of Service   Privacy Policy   Contact Us   Domain News   © 2015 DomainTools




http://whois.domaintools.com/povd.com                                                                                                              Page 2 of 2
Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 86 of 195




                 EXHIBIT “43”
          Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 8710/15/15,
JulesJordan.com WHOIS, DNS, & Domain Info - DomainTools                                of 1954:48 PM




 Home > Whois Lookup > JulesJordan.com


                                                                                                                                                    How does this work?
 Whois Record for JulesJordan.com
                                                                                                         # Preview the Full Domain Report
   Related Domains For Sale or At Auction                                      1     2   3
                                                                                                 Tools
                                                                               More >
     JordenRunt.com ($2,595)                          JordenCarver.com ($3,500)
     BabyJorden.com ($475)                            RoyalJordenIan.com ($300)                       Whois History            Hosting History
     JordenRunTresa.com ($399)                        BryceJordenCenter.com ($799)               Monitor Domain Properties                      $

                                                                                                 Reverse Whois Lookup                           $

 − Whois & Quick Stats                                                                           Reverse IP Address Lookup                      $

  Email                              is associated with ~9,398,260 domains                   "   Reverse Name Server Lookup                     $

                                                                                                 Network Tools                                  $

                                                                                                   Buy This Domain $            Visit Website

                                                                                                               View Screenshot History
  Registrant Org     PERFECT PRIVACY, LLC was found in ~3,085,594 other                      "
                     domains                                                                     Available TLDs

  Registrar          REGISTER.COM, INC.
                                                                                                  General TLDs        Country TLDs
  Registrar Status   clientTransferProhibited
                                                                                                 The following domains are available through
  Dates              Created on 2001-02-14 - Expires on 2016-02-14 -                         "
                                                                                                 our preferred partners. Select domains
                     Updated on 2014-12-23
                                                                                                 below for more information. (3rd party site)
  Name Server(s)     NS1.SWEETHOSTING.COM (has 102 domains)                                  "      Taken domain.
                     NS2.SWEETHOSTING.COM (has 102 domains)                                         Available domain.
                                                                                                    Deleted previously owned domain.
  IP Address         50.31.75.180 - 6 other sites hosted on this server                      "

  IP Location           - Illinois - Chicago - Steadfast Networks                                 JulesJordan.com                    View Whois

  ASN                   AS32748 STEADFAST - Steadfast Networks (registered Jul 16, 2004)          JulesJordan.net                    View Whois

  Domain Status      Registered And Active Website                                                JulesJordan.org                    View Whois

  Whois History      235 records have been archived since 2001-12-27                         "    JulesJordan.info                   Buy Domain

  IP History         20 changes on 12 unique IP addresses over 11 years                      "     JulesJordan.biz                   Buy Domain
  Registrar          2 registrars                                                            "     JulesJordan.us                    View Whois
  History

  Hosting History    6 changes on 5 unique name servers over 11 years                        "

  Whois Server       whois.register.com

 − Website

  Website Title          Jules Jordan's Oﬃcial Membership Site - Porn Star -                 "
                     Director - Producer

  Server Type        Apache/2.2.3 (CentOS)

  Response Code      200

  SEO Score          81%

  Terms              164 (Unique: 118, Linked: 26)

  Images             11 (Alt tags missing: 6)

  Links              16 (Internal: 12, Outbound: 4)

 Whois Record ( last updated on 2015-10-15 )

   Domain Name: julesjordan.com
   Registry Domain ID: 61272303_DOMAIN_COM-VRSN
   Registrar WHOIS Server: whois.register.com
   Registrar URL: http://www.register.com
   Updated Date: 2010-06-14T19:57:25Z
   Creation Date: 2001-02-14T19:50:05Z



http://whois.domaintools.com/julesjordan.com                                                                                                             Page 1 of 2
       Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 8810/15/15,
JulesJordan.com WHOIS, DNS, & Domain Info - DomainTools                             of 1954:48 PM

   Registrar Registration Expiration Date: 2016-02-14T19:50:05Z
   Registrar: Register.com, Inc.
   Registrar IANA ID: 9
   Registrar Abuse Contact Email:
   Registrar Abuse Contact Phone: +1.8773812449
   Reseller:
   Domain Status: clientTransferProhibited http://icann.org/epp#clientTra
   nsferProhibited
   Registry Registrant ID:
   Registrant Name: PERFECT PRIVACY, LLC
   Registrant Organization:
   Registrant Street: 12808 Gran Bay Pkwy West
   Registrant City: Jacksonville
   Registrant State/Province: FL
   Registrant Postal Code: 32258
   Registrant Country: US
   Registrant Phone: +1.9027492701
   Registrant Phone Ext.:
   Registrant Fax:
   Registrant Fax Ext.:
   Registrant Email: 64bcef320a28fd0a40b1d3d17537b307@domaindiscreet.com
   Registry Admin ID:
   Admin Name: PERFECT PRIVACY, LLC
   Admin Organization:
   Admin Street: 12808 Gran Bay Pkwy West
   Admin City: Jacksonville
   Admin State/Province: FL
   Admin Postal Code: 32258
   Admin Country: US
   Admin Phone: +1.9027492701
   Admin Phone Ext.:
   Admin Fax:
   Admin Fax Ext.:
   Admin Email: 64bcef300a28fd0a5c7e71a0a7b3b1ba@domaindiscreet.com
   Registry Tech ID:
   Tech Name: PERFECT PRIVACY, LLC
   Tech Organization:
   Tech Street: 12808 Gran Bay Pkwy West
   Tech City: Jacksonville
   Tech State/Province: FL
   Tech Postal Code: 32258
   Tech Country: US
   Tech Phone: +1.9027492701
   Tech Phone Ext.:
   Tech Fax:
   Tech Fax Ext.:
   Tech Email: 64bcef320a28fd0a5ac95f8573dc1a6a@domaindiscreet.com
   Name Server: ns1.sweethosting.com
   Name Server: ns2.sweethosting.com
   DNSSEC: Unsigned
   URL of the ICANN WHOIS Data Problem Reporting System: http://wdprs.int
   ernic.net/

   For more information on Whois status codes, please visit
   https://www.icann.org/resources/pages/epp-status-codes-2014-06-16-en.




  %   &    '   +                                             Sitemap   Blog   Terms of Service   Privacy Policy   Contact Us   Domain News   © 2015 DomainTools




http://whois.domaintools.com/julesjordan.com                                                                                                       Page 2 of 2
       Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 8910/15/15,
Jules Jordan Video's 2257 Compliance Notice                                         of 1954:49 PM



 18 U.S.C. Section 2257 Compliance Notice
 The actors, models, actresses and other persons that appear in any visual depiction of actual sexually explicit
 conduct appearing or otherwise contained in this Website were over the age of eighteen years at the time of
 the creation of such.

 All other pictures, graphics, videos or other visual media displayed on this Website are exempt from the
 provision of 18 U.S.C. section 2257 and 28 C.F.R. 75 because said visual media do not consist of depictions
 of conduct as specifically listed in 18 U.S.C section 2256 (2) (A) through (D), but are merely depictions of
 non-sexually explicit nudity, or are depictions of simulated sexual conduct, or are otherwise exempt because
 the visual depictions were created prior to July 3, 1995

 With respect to all visual media as defined above displayed on this website, whether of actual sexually
 explicit conduct, simulated sexual content or otherwise, all persons in said visual depictions were at least 18
 years of age when said visual media, as defined above, were created.

 The original records require from the primary producer of said video and visual media and pursuant
 to 18 U.S.C. section 2257 and 28 C.F.R. 75 for all materials contained in the website are kept by the
 following Custodian of Records:

 A. Gasper, Custodian of Records
 A. Gasper
 19860 Nordhoff Place,
 Chatsworth, CA 91311




http://www.julesjordanvideo.com/2257.html                                                                 Page 1 of 1
Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 90 of 195




                 EXHIBIT “44”
NubileFilms.com WHOIS, DNS, & Domain Info - DomainTools              http://whois.domaintools.com/nubilefilms.com
         Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 91 of 195




1 of 4                                                                                       10/12/2015 1:01 PM
NubileFilms.com WHOIS, DNS, & Domain Info - DomainTools                  http://whois.domaintools.com/nubilefilms.com
         Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 92 of 195




           Domain Name: NUBILEFILMS.COM
           Registry Domain ID: 1672863166_DOMAIN_COM-VRSN
           Registrar WHOIS Server: whois.tucows.com
           Registrar URL: http://tucowsdomains.com
           Updated Date: 2015-05-22T18:45:35Z
           Creation Date: 2011-08-19T21:00:06Z
           Registrar Registration Expiration Date: 2016-08-19T21:00:06
           Z
           Registrar: TUCOWS, INC.
           Registrar IANA ID: 69
           Registrar Abuse Contact Email:
           Registrar Abuse Contact Phone: +1.4165350123
           Reseller: www.HostSite.com --- Domain Registration and Hos
           ting --- Email us when you need
           help ---
           Reseller:
           For-Us-To-Answer-You-Faster--Please-Email-Us-Using-
           Our-Online-Form-Found-On-Our-Website@hostsite.com
           Reseller: 1-415-462-5680
           Reseller: http://www.HostSite.com
           Domain Status: ok
           Registry Registrant ID:
           Registrant Name: NF Media Inc
           Registrant Organization: NF Media Inc
           Registrant Street: 6170 W Lake Mead Blvd. STE 93
           Registrant City: Las Vegas
           Registrant State/Province: NV
           Registrant Postal Code: 89108
           Registrant Country: US
           Registrant Phone: +1.8777756425
           Registrant Phone Ext:




2 of 4                                                                                           10/12/2015 1:01 PM
NubileFilms.com WHOIS, DNS, & Domain Info - DomainTools                   http://whois.domaintools.com/nubilefilms.com
         Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 93 of 195
           Registrant Fax:
           Registrant Fax Ext:
           Registrant Email:
           Registry Admin ID:
           Admin Name: NF Media Inc
           Admin Organization: NF Media Inc
           Admin Street: 6170 W Lake Mead Blvd. STE 93
           Admin City: Las Vegas
           Admin State/Province: NV
           Admin Postal Code: 89108
           Admin Country: US
           Admin Phone: +1.8777756425
           Admin Phone Ext:
           Admin Fax:
           Admin Fax Ext:
           Admin Email:
           Registry Tech ID:
           Tech Name: www.hostsite.com - Domain Registration
           Tech Organization: HostSite.com
           Tech Street: 1618 Sullivan Ave, 529
           Tech City: Daly City
           Tech State/Province: CA
           Tech Postal Code: 94015
           Tech Country: US
           Tech Phone: +1.4154625680
           Tech Phone Ext:
           Tech Fax:
           Tech Fax Ext:
           Tech Email:
           Name Server: NS1.HITCLUSTER.COM
           Name Server: NS2.HITCLUSTER.COM
           DNSSEC: unsigned
           URL of the ICANN WHOIS Data Problem Reporting System: http:
           //wdprs.internic.net/

           Registration Service Provider:
                www.HostSite.com --- Domain Registration and Hosting
           --- Email us when you need help
           ---,
           For-Us-To-Answer-You-Faster--Please-Email-Us-Using-
           Our-Online-Form-Found-On-Our-Website@hostsite.com
                1-415-462-5680
                http://www.HostSite.com
                Phone support available 9AM-6PM PST M-F.
                .
                Domain registration includes FREE optional PrivateWhois
           .com service
                which blocks your whois contact info from being display
           ed in the WHOIS.
                Your email address is protected by default so that you
           do not get spam.
                Thank you for using HostSite.com

                Notice: This domain's email address might be protected
           by
               HostSite.com's FREE PrivateWhois service. If you need t
           o email the
               owner of this domain name, you can only do so through
               http://PrivateWhois.com




3 of 4                                                                                            10/12/2015 1:01 PM
NubileFilms.com WHOIS, DNS, & Domain Info - DomainTools              http://whois.domaintools.com/nubilefilms.com
         Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 94 of 195




4 of 4                                                                                       10/12/2015 1:01 PM
Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 95 of 195




                 EXHIBIT “45”
                                                                                                       http://www.elegantangel.com/page2257.php
         Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 96 of 195



              18 U.S.C. § 2257 Record Keeping Information

              In compliance with United States Code, Title 18, Section 2257, all models, actors, actresses and other persons
              that appear in any visual depiction of actual or simulated sexual conduct appearing otherwise contained at
              elegantangel.com were over the age of eighteen (18) years at the time of the creation of such depictions. Some
              of the aforementioned depictions appearing or otherwise contained at the site contain only visual depictions of
              actual sexually explicit conduct made before July 3, 1995, and, as such, are exempt from the requirements set
              forth in 18 U.S.C. § 2257 and C.F.R. 75.

              The operators of this web site is not the primary producer (as that term is defined in 18 U.S.C. section 2257) of
              any of the visual content contained within. The original records are kept by the following Custodian of Records:


                                                      Patrick Collins
                                                      8015 Deering Ave.,
                                                      Canoga Park, CA, USA
                                                      91304


              All external links on elegantangel.com are the responsability of the pointed sites owners respectively since we
              don't have any control over the content of these sites. Please refer to the linked website for any inquiries about
              subject.

              With regard to the remaining depictions of actual sexual conduct appearing or otherwise contained at
              elegantangel.com, a copy of the records required pursuant to 18 U.S.C. & 2257 and C.F.R. 75 are kept at the
              following location by the Custodians of Records. For any inquiries pertaining to any models/actors/actresses
              shown on these pages, please contact:


                                                      HVL Cyberweb Solutions
                                                      PO BOX 4002, SUCC D
                                                      Montreal QC
                                                      H3C 0J7 Canada




1 of 1                                                                                                                         10/12/2015 1:15 PM
Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 97 of 195




                 EXHIBIT “46”
          Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 9810/15/15,
ElegantAngel.com WHOIS, DNS, & Domain Info - DomainTools                               of 1955:01 PM




 Home > Whois Lookup > ElegantAngel.com


                                                                                                                                                      How does this work?
 Whois Record for ElegantAngel.com
                                                                                                            # Preview the Full Domain Report
   Related Domains For Sale or At Auction                                      1       2   3
                                                                                                    Tools
                                                                               More >
     ElegantAffair.com ($3,988)                       Delegant.com ($2,595)
     ElegantFavors.com ($4,788)                       ElegantBridalShop.com ($475)                       Whois History           Hosting History
     ElegantBridalJewelry.com ($1,888)                ElegantDesignsInc.com ($2,188)                Monitor Domain Properties                     $

                                                                                                    Reverse Whois Lookup                          $

 − Whois & Quick Stats                                                                              Reverse IP Address Lookup                     $

  Email                                   is associated with ~523,907                           "   Reverse Name Server Lookup                    $

                     domains
                                                                                                    Network Tools                                 $

                                                                                                      Buy This Domain $           Visit Website
  Registrar          DNC HOLDINGS, INC.
                                                                                                                 View Screenshot History
  Registrar Status   clientDeleteProhibited, clientTransferProhibited, clientUpdateProhibited
                                                                                                    Available TLDs
  Dates              Created on 1995-11-30 - Expires on 2023-11-29 -                            "
                     Updated on 2015-04-10                                                           General TLDs        Country TLDs

  Name Server(s)     NS1.MOJOHOST.COM (has 19,193 domains)                                      "
                                                                                                    The following domains are available through
                     NS2.MOJOHOST.COM (has 19,193 domains)
                                                                                                    our preferred partners. Select domains
  IP Address         206.125.164.221 - 107 other sites hosted on this                           "   below for more information. (3rd party site)
                     server                                                                            Taken domain.
                                                                                                       Available domain.
  IP Location           - Quebec - Montreal - Hvl Cyberweb Solutions
                                                                                                       Deleted previously owned domain.
  ASN                   AS46609 OPTIC - Technologie Optic.ca (registered Oct 27, 2008)
                                                                                                     ElegantAngel.com                   View Whois
  Domain Status      Registered And Active Website
                                                                                                     ElegantAngel.net                   View Whois
  Whois History      1,002 records have been archived since 2003-07-03                          "
                                                                                                     ElegantAngel.org                   View Whois
  IP History         16 changes on 13 unique IP addresses over 10 years                         "
                                                                                                     ElegantAngel.info                  Buy Domain
  Registrar          1 registrar with 2 drops                                                   "
  History                                                                                             ElegantAngel.biz                  Buy Domain
  Hosting History    5 changes on 6 unique name servers over 13 years                           "
                                                                                                      ElegantAngel.us                   View Whois
  Whois Server       whois.directnic.com

 − Website

  Website Title          Oﬃcial Website of Elegant Angel                                        "

  Server Type        Apache

  Response Code      200

  SEO Score          95%

  Terms              214 (Unique: 116, Linked: 33)

  Images             0 (Alt tags missing: 0)

  Links              16 (Internal: 6, Outbound: 10)

 Whois Record ( last updated on 2015-10-15 )

   Domain Name: ELEGANTANGEL.COM
   Registry Domain ID: 3756272_DOMAIN_COM-VRSN
   Registrar WHOIS Server: whois.directnic.com
   Registrar URL: http://www.directnic.com
   Updated Date: 2015-04-10T20:30:26-05:00
   Creation Date: 1995-11-30T05:00:00-06:00
   Registrar Registration Expiration Date: 2023-11-29T05:00:00-06:00
   Registrar: DNC Holdings, Inc.
   Sponsoring Registrar IANA ID: 291
   Registrar Abuse Contact Email:



http://whois.domaintools.com/elegantangel.com                                                                                                              Page 1 of 2
       Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 9910/15/15,
ElegantAngel.com WHOIS, DNS, & Domain Info - DomainTools                            of 1955:01 PM

   Registrar Abuse Contact Phone: +1.8668569598
   Domain Status: clientTransferProhibited (https://www.icann.org/epp#cli
   entTransferProhibited)
   Domain Status: clientUpdateProhibited (https://www.icann.org/epp#clien
   tUpdateProhibited)
   Domain Status: clientDeleteProhibited (https://www.icann.org/epp#clien
   tDeleteProhibited)
   Registrant Name: Direct Privacy
   Registrant Organization: Domain Name Proxy Service, Inc Privacy ID# 74
   6426
   Registrant Street: P.O. Box 6592
   Registrant City: Metairie
   Registrant State/Province: LA
   Registrant Postal Code: 70009
   Registrant Country: US
   Registrant Phone: +1.5043550082
   Registrant Phone Ext:
   Registrant Fax:
   Registrant Fax Ext:
   Registrant Email: elegantangel.com@domainnameproxyservice.com
   Admin Name: Direct Privacy
   Admin Organization: Domain Name Proxy Service, Inc Privacy ID# 746426
   Admin Street: P.O. Box 6592
   Admin City: Metairie
   Admin State/Province: LA
   Admin Postal Code: 70009
   Admin Country: US
   Admin Phone: +1.5043550082
   Admin Phone Ext:
   Admin Fax:
   Admin Fax Ext:
   Admin Email: elegantangel.com@domainnameproxyservice.com
   Tech Name: Direct Privacy
   Tech Organization: Domain Name Proxy Service, Inc Privacy ID# 746426
   Tech Street: P.O. Box 6592
   Tech City: Metairie
   Tech State/Province: LA
   Tech Postal Code: 70009
   Tech Country: US
   Tech Phone: +1.5043550082
   Tech Phone Ext:
   Tech Fax:
   Tech Fax Ext:
   Tech Email: elegantangel.com@domainnameproxyservice.com
   Name Server: ns1.mojohost.com
   Name Server: ns2.mojohost.com
   URL of the ICANN WHOIS Data Problem Reporting System
   http://wdprs.internic.net
   For more information on Whois status codes,
   please visit https://www.icann.org/resources/pages/epp-status-codes-
   2014-06-16-en.




  %   &    '   +                                             Sitemap   Blog   Terms of Service   Privacy Policy   Contact Us   Domain News   © 2015 DomainTools




http://whois.domaintools.com/elegantangel.com                                                                                                      Page 2 of 2
Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 100 of 195




                  EXHIBIT “47”
2257 INFO                                                                                                     http://www.hustler.com/2257.html
         Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 101 of 195


               CUSTODIAN OF RECORDS - TITLE 18, U.S.C. SECTION 2257 COMPLIANCE



             In compliance with United States Code, Title 18, Section 2257, all models, actors, actresses and other persons
             who appear in any visual depiction of actual sexually explicit conduct appearing or otherwise contained in or at
             this site were over the age of eighteen years at the time of the creation of such depictions. With respect to all
             materials for which either LFP Internet Group, LLC or LFP Video Group, LLC is the primary producer, records
             required to be maintained pursuant to Title 18, Section 2257 are kept by the custodian of records at:




                                                         LFP Internet Group, LLC
                                                          LFP Video Group, LLC
                                                         8484 Wilshire Blvd. #900
                                                          Beverly Hills, CA 90211




             Other primary producers of licensed content material are:



             (Combat Zone)
             D. Giarrusso
             9320 Mason Ave.
             Chatsworth, CA 91311
             USA
             info@combatzone.us


             (Pink Visual)
             BM Videos Inc.
             Custodian of Records C/O Eduardo de la Cruz
             Ave Balboa, Balboa Point Building, 6th floor
             Panama City, Panama


             Other primary producers of material that may be accessed via hyperlink from within this site are:


             (Premium Cash Sites)
             Premium Multimedia Inc.
             PO BOX 5 SUCC D
             Montreal, QC, Canada
             H3K 3B9


             (Premium Cash Sites)
             Premium Multimedia Inc.
             PO BOX 5 SUCC D
             Montreal, QC, Canada
             H3K 3B9



1 of 3                                                                                                                    10/12/2015 12:55 PM
2257 INFO                                                                    http://www.hustler.com/2257.html
         Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 102 of 195
             (Nubiles Sites)
             Frans A. van der Poll
             Kromhoutstraat 54/0020 1976 BM Ijmuiden
             The Netherlands


             (Built To Convert Sites)
             J. Goatee
             Fuel Virtual Inc.
             8335 Sunset Blvd. Suite 315
             West Hollywood, CA 90069


             (Reality Cash Sites)
             Custodian of Records
             2706 Media Center Drive
             Los Angeles, CA 90065


             (Gammae Sites)
             NetFame Solutions Inc
             3300 Cote-Vertu, suite 406
             Montreal, Quebec, H4R 2B7, Canada


             (JuggCash Sites)
             J. Sim
             7777 Decarie Boulevard
             Suite 300
             Montreal, Quebec
             H4P 2H2 Canada


             (MofosCash Sites)
             J. Sim
             7777 Decarie Boulevard
             Suite 300
             Montreal, Quebec
             H4P 2H2 Canada


             (NastyDollars Sites)
             Jose Tavarez
             225 7th street, suite LB-100
             Miami, Fl 33139


             (Rabbits Reviews)
             M. Dickinson, Custodian of Records
             625 Broadway Suite #700
             San Diego, Ca 92101
             US


             (Flirt4Free/HustlerLive)
             C. Parsons
             Compliance / Custodian of Records
             recordkeeping@flirt4free.com


2 of 3                                                                                  10/12/2015 12:55 PM
2257 INFO                                                                    http://www.hustler.com/2257.html
         Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 103 of 195
             26672 Agoura Rd.
             Calabasas, CA 91302-2969


             (Hustler Flirts)
             HustlerFlirts Limited
             Rena Erotocritou
             Ariel Secretaries Limited
             196, Arch Makarios Avenue, Ariel Corner
             1st Floor, Office 102, # 57528
             3316 Limassol - Cyprus


             (Barely Legal Flirts)
             Barely Legal Flirts Limited
             Rena Erotocritou
             Ariel Secretaries Limited
             196, Arch Makarios Avenue, Ariel Corner
             1st Floor, Office 102, # 57528
             3316 Limassol – Cyprus


             (Hustler Cams)
             Custodian of Records
             Streamray, Inc.
             6845 S. Escondido St., Ste 106
             Las Vegas, NV 89119


             (Hustler VOD)
             Custodian of Records
             Adult Entertainment Broadcast Network
             500 Archdale Drive
             Charlotte, NC 28217


             (Hustler Personals)
             Custodian of Records
             ConfirmID, Inc.
             6845 S. Escondido St., Ste 106
             Las Vegas, NV 89119


                                                  Back to Hustler.com




3 of 3                                                                                  10/12/2015 12:55 PM
Hustler Cash                                                                                                                                                                                                       http://hustlercash.com/
         Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 104 of 195

                                                         Hustler Cash - Promote the World Famous Hustler brand of high converting websites!

                                                                                                       Sign up for an Account




                                                                                                                     Username

                                                                                                                      Password




                                                                                                             Forgot Password

                                                                                                                     Home
                                                                                                                   Programs
                                                                                                                    Websites
                                                                                                                 Marketing Tools
                                                                                                                     FAQ
                                                                                                                    Support
                                                                                                                   Resources
                                                                                                                    Sign Up




                                                                           Whats New | News & Updates
                                                                                                                 Aug 27, 2015


                                                                               HUSTLER CASH News and NEW Labor Day banners!
           HUSTLER Cash NEWS:

           We are sorry to say that after 3 years with the HUSTLER family our Sarah Jayne is leaving us for a brand new opportun ty. We want to thank her for a l the work she has done and wish her the very...



                                                                                                                  Jul 29, 2015


                                                                    280+ Hosted Video & Model Profile Galleries Added To Affiliate Area
           Ton of new galleries added today! Over 140 new hosted model prof le ga leries ranging to today's hotties like Cassidy Banks and Victoria James to industry legends such as Vanessa Del Rio.

           Another 140 hosted video...




         Check out our New Program | Now On                                                                                                                         Brands that sell themselves
                                                                                                                                                                     Award Winning Content
                                                                                                          State-of-the-Art Promo Tools
                                                                                                               Reliable Live Stats
                                                                                                            Regular On-time Payouts
                                                                                                                Cascading Billing




1 of 2                                                                                                                                                                                                             10/12/2015 12:55 PM
Hustler Cash                                                                                                                                    http://hustlercash.com/
         Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 105 of 195
                                                                            Brand New Fresh Tours

                                                                  Sign up for a Hustler Account Now




                         Need content for your paysites? Get Hustler Content for as low as $49
                              HOME | PROGRAMS | WEBSITES | MARKETING TOOLS | FAQ | SUPPORT | RESOURCES | SIGN UP

                                                 18 U.S. 2257 Record-Keeping Requirements Compliance Statement
                                                        All models appearing on this site are 18 older. © 2010
                   LFP Internet Group, LLC, All Rights Reserved LFP Internet Group, LLC, 8484 Wilshire Blvd. #900, Beverly Hills, CA 90211 USA




          We support RTA and ICRA. Our websites are properly labled to help protect minors from accessing content that may be inappropriate for their viewing.




2 of 2                                                                                                                                           10/12/2015 12:55 PM
LFP Publishing Group, LLC Business Review in Beverly Hills, CA - Ser...                                            http://www.bbb.org/losangelessiliconvalley/business-reviews/publishers...
          Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 106 of 195



                                                                      Counties of Los Angeles, Santa Clara, San Benito, Santa Cruz, and
                                                                      Monterey
                                                                            Change Location
              Menu




                       BBB BUSINESS REVIEW
                       What is a BBB Business Review?


                         THIS BUSINESS IS NOT BBB ACCREDITED

                         LFP Publishing Group, LLC
                         (818) 248-4549
                         View Additional Phone Numbers
                         8484 Wilshire Blvd Ste 900, Beverly Hills, CA 90211-3218
                         http://www.filmthreat.com


                                     On a scale of A+ to F
                                     Reason for Rating
                                     BBB Ratings System Overview



                         BBB Business Reviews may not be reproduced for sales or promotional purposes.




                            BBB Accreditation
                            LFP Publishing Group, LLC is not BBB Accredited.

                            Businesses are under no obligation to seek BBB accreditation, and some businesses are not accredited because they have not sought BBB
                            accreditation.

                            To be accredited by BBB, a business must apply for accreditation and BBB must determine that the business meets BBB accreditation standards, which
                            include a commitment to make a good faith effort to resolve any consumer complaints. BBB Accredited Businesses must pay a fee for accreditation
                            review/monitoring and for support of BBB services to the public.




                         Reason for Rating
                         BBB rating is based on 13 factors. Get the details about the factors considered.

                         This business has no rating at this time.



                         Customer Complaints Summary

                         4 complaints closed with BBB in last 3 years | 0 closed in last 12 months

                         Complaint Type                                                                     Total Closed Complaints

                         Advertising / Sales Issues                                                         1

                         Delivery Issues                                                                    1

                         Problems with Product / Service                                                    2

                         Billing / Collection Issues                                                        0

                         Guarantee / Warranty Issues                                                        0

                         Total Closed Complaints                                                            4



                         Customer Reviews Summary                                                                                                   Read customer reviews

                         0 Customer Reviews Customer Reviews on LFP Publishing Group, LLC

                         Customer Experience                                                                Total Customer Reviews

                         Positive Experience

                         Neutral Experience

                         Negative Experience

                         Total Customer Reviews                                                             0 Customer Reviews




                            Government Actions
                            BBB knows of no government actions involving the marketplace conduct of LFP Publishing Group, LLC.

                            What government actions does BBB report on?




1 of 2                                                                                                                                                                           10/12/2015 12:54 PM
LFP Publishing Group, LLC Business Review in Beverly Hills, CA - Ser...                                               http://www.bbb.org/losangelessiliconvalley/business-reviews/publishers...
          Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 107 of 195

                              Advertising Review
                              BBB has nothing to report concerning LFP Publishing Group, LLC's advertising at this time.

                              What is BBB Advertising Review?




                          Additional Information
                          Business started: 07/01/1974

                          Number of Employees
                          1

                          Business Category
                          Publishers - Book, Vanity Publishers, Books - Wholesale

                          Alternate Business Names
                          American Artists, Asian Fever, Barely Legal, Country Fever
                          Magazine, Film Threat Magazine, Hometown Girls, Hot Boat
                          Magazine, Hustler Internet Group, Hustler Magazine, Hustler's Brown
                          Sugar, L F P Advertising Group, L F P, Inc., Larry Flint Productions,
                          Larry Flynt Publishing Incorporated, Online Enterprises, Tips and
                          Tricks Magazine




                     As a matter of policy, BBB does not endorse any product, service or business.

                     BBB Business Reviews are provided solely to assist you in exercising your own best judgment. Information in this BBB Business Review is believed reliable but not guaranteed as to
                     accuracy.

                     BBB Business Reviews generally cover a three-year reporting period. BBB Business Reviews are subject to change at any time.




                                                                       BBB Directory                      Terms of Use
                                                                       Give.org                           Trademarks
                                                                       Council of Better Business         Privacy Policy
                                                                       Bureaus
                                                                                                          Fight Phishing
                                                                       Contact
                                                                       BBB Business Partner Code



                                              © 2015 BBB of Los Angeles & Silicon Valley




2 of 2                                                                                                                                                                                                    10/12/2015 12:54 PM
Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 108 of 195




                  EXHIBIT “48”
         Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 10910/12/15,
Naughty America in San Diego, CA 92101 - ChamberofCommerce.com                          of 1954:24 PM

=


                            Naughty America                                                                             ADDITIONAL INFORMATION:
                                       0 Reviews
                                                                                                                        Employee Size: 1 To 4
                            625 Broadway Ste 700 San Diego, California
                            92101                                                                                       Exact Employee Count: 3
                                                                                                                        Exact Sales Volume: 750-0000
                                                                                                                        Sales Volume: 5M – 9,999,999

                                                                                                                        CATEGORIES:
        Related
                                                                                                                        Arts & Entertainment

          SAN DIEGO PARKS AND                                      NEW YEARS PARTY IDEAS                                Automobile Parts & Supplies
                                                                                                                        Manufacturing & Wholesale
                                                                                                                        Business, Industry & Agriculture
          SAN DIEGO UNION TRIBUNE                                  CORPORATE RETREATS
                                                                                                                        Transportation Equipment Manufacturing
                                                                                                                        & Wholesale
          WHALE WATCHING                                           OCEANSIDE SAN DIEGO

          THEATER TICKETS                                          IMPERIAL BEACH

        Sponsored Listings for: San Diego Arts Entertainment

          1 Painting & Vino San Diego
               LivingSocial.com/SanDiego | The Best Price on Painting Class Top Entertainment Deals Near
               San Diego


          2 #WhyNotWednesday
               verizon.tumblr.com | Giving You the Latest in Music, Sports, Fashion, Tech, and More!




     About
     Naughty America is located at the address 625 Broadway in San Diego, California 92101. Naughty America
     specializes in Sedans, European, Minivans.

     Naughty America has an annual sales volume of 5M – 9,999,999. .For more information contact CORINA
     DEXISIGN, Trade Show Coordinator

     Naughty America provides Tune Ups, Tune-Ups, Shocks to it's customers. For maps and directions to Naughty
     America view the map to the right. For reviews of Naughty America see below.




Business Features
    PRODUCTS
    Spark Plugs , Struts , Pads , Radiators , Passenger Tires , Trucks , Batteries , Jacks


    SERVICES
    Struts , Mufflers , Air Conditioning , Shocks , Rebuilding , Oil Changes , Tune-Ups , Exhaust Systems , Catalytic
    Converters , Tune Ups


    BRANDS
    Nissan , Jeep , Lexus , Audi , Ford


    SPECIALTIES
    Minivans , European , Imports , Sedans , Fleets




Reviews




https://www.chamberofcommerce.com/san-diego-ca/33752844-naughty-america                                                                                    Page 1 of 2
      Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 11010/12/15,
Naughty America in San Diego, CA 92101 - ChamberofCommerce.com                       of 1954:24 PM

Key Contacts

    Corina Dexisign
    TRADE SHOW COORDINATOR
    Phone: 619246 377




https://www.chamberofcommerce.com/san-diego-ca/33752844-naughty-america                    Page 2 of 2
Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 111 of 195




                  EXHIBIT “49”
Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 112 of 195
Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 113 of 195
Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 114 of 195
Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 115 of 195
Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 116 of 195
Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 117 of 195
Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 118 of 195
Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 119 of 195
Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 120 of 195
Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 121 of 195
Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 122 of 195
Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 123 of 195
Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 124 of 195
Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 125 of 195
Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 126 of 195
Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 127 of 195




                  EXHIBIT “50”
      Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 12810/15/15,
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  Logout    Please logout when you are done to release system resources allocated for you.

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                                       Jump
                                                to record:            Record 2 out of 3


                                                           ( Use the "Back" button of the Internet Browser to return
to TESS)


Word Mark              SEX.COM
Goods and              IC 041. US 100 101 107. G & S: Computer services, namely, providing a computer data base for the
Services               goods and services of others in the field of adult oriented subject matter via a global computer network;
                       providing links to the websites of goods and services others in the field of adult oriented subject matter
                       by means of a website on a global computer network. FIRST USE: 19960101. FIRST USE IN
                       COMMERCE: 19960101
Mark Drawing
                       (1) TYPED DRAWING
Code
Trademark
Search Facility        NOTATION-SYMBOLS Notation Symbols such as Non-Latin characters,punctuation and mathematical
Classification         signs,zodiac signs,prescription marks
Code
Serial Number          75448953
Filing Date            March 12, 1998
Current Basis          1A
Original Filing
                       1B
Basis
Published for
                       March 6, 2007
Opposition
Registration
                       3284052
Number
Registration
                       August 28, 2007
Date
Owner                  (REGISTRANT) ESCOM, LLC LIMITED LIABILITY COMPANY DELAWARE 123 NEWBURY STREET
                       SECOND FLOOR BOSTON MASSACHUSETTS 02116

                       (LAST LISTED OWNER) CLOVER HOLDINGS LIMITED LIMITED PARTNERSHIP ST. VINCENT/GRDN

http://tmsearch.uspto.gov/bin/showfield?f=doc&state=4801:73xz99.2.2                                                       Page 1 of 2
      Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 12910/15/15,
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                       EGMONT STREET KINGSTOWN ST. VINCENT/GRDN
Assignment
                       ASSIGNMENT RECORDED
Recorded
Attorney of
                       George R. Spatz
Record
Prior
                       3122247
Registrations
Type of Mark           SERVICE MARK
Register               PRINCIPAL-2(F)
Affidavit Text         SECT 15. SECT 8 (6-YR).
Live/Dead
                       LIVE
Indicator




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http://tmsearch.uspto.gov/bin/showfield?f=doc&state=4801:73xz99.2.2                                       Page 2 of 2
Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 130 of 195




                  EXHIBIT “51”
      Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 13110/15/15,
Trademark Electronic Search System (TESS)                                            of 1955:34 PM

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  Start
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                                                to record:            Record 3 out of 3


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Word Mark             SEX.COM
Goods and             IC 042. US 100 101. G & S: providing access to an electronic bulletin board in the field of adult
Services              entertainment. FIRST USE: 19790600. FIRST USE IN COMMERCE: 19790600
Mark Drawing
                      (1) TYPED DRAWING
Code
Serial Number         75106638
Filing Date           May 20, 1996
Current Basis         1A
Original Filing
                      1A
Basis
Published for
                      December 2, 1997
Opposition
Registration
                      3122247
Number
Registration
                      August 1, 2006
Date
Owner                 (REGISTRANT) Cohen, Stephen Michael INDIVIDUAL UNITED STATES P.O. Box 18744 Anaheim
                      CALIFORNIA 928178744

                      (LAST LISTED OWNER) CLOVER HOLDINGS LIMITED LIMITED PARTNERSHIP ST. VINCENT/GRDN
                      EGMONT STREET KINGSTOWN ST. VINCENT/GRDN
Assignment
                      ASSIGNMENT RECORDED
Recorded
Attorney of
                      George R. Spatz
Record
Type of Mark          SERVICE MARK

http://tmsearch.uspto.gov/bin/showfield?f=doc&state=4801:73xz99.2.3                                                       Page 1 of 2
      Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 13210/15/15,
Trademark Electronic Search System (TESS)                                            of 1955:34 PM

Register             PRINCIPAL-2(F)
Affidavit Text       SECT 15. SECT 8 (6-YR).
Live/Dead
                     LIVE
Indicator




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http://tmsearch.uspto.gov/bin/showfield?f=doc&state=4801:73xz99.2.3                                       Page 2 of 2
Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 133 of 195




                  EXHIBIT “52”
Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 134 of 195

                                                    Trademark Trial and Appeal Board Electronic Filing System. http://estta.uspto.gov
                                                                          ESTTA Tracking number:           ESTTA124167
                                                                                        Filing date:         02/09/2007
                            IN THE UNITED STATES PATENT AND TRADEMARK OFFICE
                              BEFORE THE TRADEMARK TRIAL AND APPEAL BOARD

                                              Notice of Opposition
      Notice is hereby given that the following party opposes registration of the indicated application.

      Opposer Information
       Name                  HVL Cyberweb Solutions, Inc.
       Granted to Date       02/10/2007
       of previous
       extension
       Address               1751 Richardson Suite 4102
                             Montreal, QC H3K1G6
                             CANADA

       Attorney              Allison G. Vasquez
       information           Waller Lansden Dortch &amp; Davis, LLP
                             520 South Grand Avenue, Suite 800
                             Los Angeles, CA 90071
                             UNITED STATES
                             allison.vasquez@wallerlaw.com Phone:(213) 362-3491

      Applicant Information
       Application No        78851360                           Publication date          12/12/2006
       Opposition Filing     02/09/2007                         Opposition                02/10/2007
       Date                                                     Period Ends
       Applicant             Brown, Alden J
                             7 Coastal Canyon Drive
                             Newport Coast, CA 92657
                             UNITED STATES

      Goods/Services Affected by Opposition
       Class 041. First Use: 1984/04/07 First Use In Commerce: 1984/04/07
       All goods and sevices in the class are opposed, namely: Entertainment services, namely, providing
       an Internet web site featuring sexually explicit adult content videos, film clips, and photographs

       Related               Orange County Superior Court, action case no. 06CC04997
       Proceedings

       Attachments           HVL notice of opposition.pdf ( 66 pages )(2940812 bytes )

       Signature             /Allison G. Vasquez/
       Name                  Allison G. Vasquez
       Date                  02/09/2007
Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 135 of 195
Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 136 of 195
Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 137 of 195
Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 138 of 195
Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 139 of 195




                  EXHIBIT “53”
Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 140 of 195
Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 141 of 195
Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 142 of 195
Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 143 of 195
Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 144 of 195
Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 145 of 195
Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 146 of 195
Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 147 of 195
Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 148 of 195
Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 149 of 195
Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 150 of 195
Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 151 of 195
Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 152 of 195




                  EXHIBIT “54”
      Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 15310/8/15,
DMCA - How to Report a Copyright Infringement | Sex.com                             of 1954:48 PM


                          (/)                                                                                                On     Oﬀ
                                ! Search                                                           Videos      "
                                (https://twitter.com/sexdotcom)                                                           Gif Animation

                                                  Login (/user/signin?redirect=%2Fabout%2Fdmca)             Sign Up! (/user/signup)       $    (/about/us)


        Videos # (/sex-videos/?sort=latest)         Pictures # (/porn-pics/?sort=latest)            Categories # (/categories/)           Pornstars (/pornstars/all)


        Live Cams (http://ads.sex.com/zone.php?id=19)            Sexting (http://ads.sex.com/zone.php?id=92)


        Free Sex Games (http://www.clicktraﬃx.net/598ca8c0-55a2-4b79-ad50-32c1ca66a3e5)                     Best Porn Sites (http://theporndude.com/)


        Sex Deals (http://sex.idealgasm.com/us/new-york/live-deals?ref=787)                Blog (http://www.sex.com/news/)


        Gay (http://www.gay.sex.com/?utm_source=Sex.com&utm_medium=header_link&utm_campaign=Sex.com)



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http://www.sex.com/about/dmca                                                                                                                                Page 1 of 3
      Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 15410/8/15,
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                                          You can file a DMCA Request by filling out the DMCA Form found at
                                          http://www.sex.com/about/dmcaform (/about/dmcaform) or send us the following information:


                                             1. A physical or electronic signature

                                             2. Identify the copyrighted work that you claim has been infringed, or - if multiple copyrighted works
                                                are covered by this Notice - you may provide a representative list of the copyrighted works that you
                                                claim have been infringed.

                                             3. Identify (i) the material that you claim is infringing (or to be the subject of infringing activity) and that
                                                is to be removed, or to which access is to be disabled, and information reasonably sufficient to
                                                permit us to locate the material, including at a minimum, if applicable, the URL of the link shown on
                                                the Site where such material may be found, and (ii) the reference or link to the material or activity
                                                that you claim to be infringing, that is to be removed or to which access is to be disabled, and
                                                information reasonably sufficient to permit us to locate that reference or link, including at a
                                                minimum, if applicable, the URL of the link shown on the site where such reference or link may be
                                                found.

                                             4. Information reasonably sufficient to permit Sex.com to contact the complaining party, including a
                                                name, address, telephone number and, if available, an email address at which the complaining
                                                party may be contacted.

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                                                good faith belief that the disputed use of the copyrighted material or reference or link to such
                                                material is not authorized by the copyright owner, its agent, or the law (e.g., as a fair use)." "I
                                                hereby state that the information in this notice is accurate and, under penalty of perjury, that I am
                                                the owner, or authorized to act on behalf of the owner of the copyright or of an exclusive right
                                                under the copyright that is allegedly infringed."

                                             6. Provide your full legal name and your electronic or physical signature


                                          Deliver this notice, with all items completed, to Sex.com's Designated Copyright Agent:




                                          Your notice will be forwarded to the related user(s).

                                          Contacting Us
                                          For any other inquiry, please contact us at:




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        Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 15510/8/15,
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http://www.sex.com/about/dmca                                                                                                                                                                   Page 3 of 3
Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 156 of 195




                  EXHIBIT “55”
      Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 15710/8/15,
2257 Compliance | Sex.com                                                           of 1954:49 PM


                          (/)                                                                                                 On     Oﬀ
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                                (https://twitter.com/sexdotcom)                                                            Gif Animation

                                              Login (/user/signin?redirect=%2Fabout%2Fcompliance)            Sign Up! (/user/signup)       $    (/about/us)


        Videos # (/sex-videos/?sort=latest)          Pictures # (/porn-pics/?sort=latest)            Categories # (/categories/)           Pornstars (/pornstars/all)


        Live Cams (http://ads.sex.com/zone.php?id=19)             Sexting (http://ads.sex.com/zone.php?id=92)


        Free Sex Games (http://www.clicktraﬃx.net/598ca8c0-55a2-4b79-ad50-32c1ca66a3e5)                      Best Porn Sites (http://theporndude.com/)


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                                                         he/she keeps records of the models in the content and that they are over 18 years of age.
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        Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 15810/8/15,
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Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 159 of 195




                  EXHIBIT “56”
      Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 16010/13/15,
RTA (Restricted To Adults) - Self Labeling for Adult Entertainment Websites          of 1951:51 PM


       Home
       Label with RTA
             Label your Site
             Label Wordpress
             Label Mobile
             Label Android
             RTA Verified
             RTA Verified Subscribers
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      Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 16110/13/15,
RTA (Restricted To Adults) - Self Labeling for Adult Entertainment Websites          of 1951:51 PM

 Home | Label Your Site | RTA Verified | RTA Verified Subscribers | Awards | FAQ/Common Concerns | News/Press | PFF Parental Controls | Links for
 Parents | Contact | Terms and Conditions | Banners | Partners | ASACP | RTA Website Labeling Report
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http://www.rtalabel.org/index.php?content=contact                                                                                           Page 2 of 2
Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 162 of 195




                  EXHIBIT “57”
Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 163 of 195
Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 164 of 195




                  EXHIBIT “58”
            Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 165 of 195

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                                                                                                                                    ...




 Global Rank                            Country Rank                                       Category Rank
Worldwide                               United States                                      Adult

                    1,839       
                                                                     1,163         
                                                                                                                           118      




Traffic Overview
                        Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 166 of 195

Traffic Overview
Estimated Monthly Visits                                                                                  Engagement
Showing last 6 months                                                                                     On Desktop, in August, 2015
20M


15M
                                                                                                          Visits                         8.8M
10M                                                                                                        Time On Site                 00:08:42
5M
                                                                                                           Page Views                     13.46
 0
       Mar 9     Mar 23     Apr 6   Apr 20   May 4   May 18   Jun 1   Jun 15   Jun 29   Jul 13   Jul 27
                                                                                                           Bounce Rate                   34.02%


Traffic by countries
On Desktop, Last 3 months


                                                                                                              United States             39.21%
                                                                                                              Russia                      4.96%
                                                                                                              Germany                     4.13%
                                                                                                              India                       3.84%
                                                                                                              United Kingdom              3.52%
                    Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 167 of 195




Traffic Sources
On Desktop, Last 3 months




           58.26%



                                 18.51%            18.12%
                                                                     4.64%             0.18%               0.28%
                                                                                                        
           Direct               Referrals          Search            Social            Mail                Display




Referrals
                        Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 168 of 195

Referrals

                  18.51%
                  Of traffic is from Referrals


Top Referring Sites:                                                                                Top Destination Sites:

Theporndude.com                                                                                        Camonster.com

Imagetwist.com                                                                                         Xvideos.com

Tineye.com                                                     Sex.com                                 Imagefap.com

Imagebam.com                                                                                           Secure.xsrving.com

Straight.fleshbot.com                                                                                  Box.anchorfree.net




Search
           Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 169 of 195

Search

         18.12%
         Of traffic is from Search



                            100%
                       Organic Searches
                                                                              0%
                                                                          Paid Searches



                  Organic Keywords:                                        Paid Keywords:
                                                                            No Paid Keywords
           sex.com
           секс

           www.sex.com
           sex
           sex com




Social
                Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 170 of 195

Social

              4.64%
              Of traffic is from Social

Stumbleupon
                                                                                                       36.97%
Reddit
                                                                                                       25.27%
Facebook
                                                                                                       20.71%
Youtube
                                                                                                       6.74%
Twitter
                                                                                                       6.24%




Display Advertising
                    Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 171 of 195

Display Advertising

                0.28%
                Of traffic is from Display Ads

Top Publishers                                                                                Top Ad Networks
Paseilimitado.com                                                                Propeller Ads Media
                                                                             Adcash.com                         sh.st
Youjizz.com

Facebook.com
                                                                                                                        Paid Referrals
Pornsexbig.blogspot.com

Jbzd.pl                                                                        Other

                                                                                                            Misc Ads


Display Ads


                                                  No display ads available for this website




Audience Interests
                     Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 172 of 195

Audience Interests
 Categories



                    Adult             Internet And Telecom > Search   Games > Roleplaying
                                                  Engine




              People And Society      News And Media > Technology
                                                News


 Also visited websites                              Topics
 Smutty.com

 Tineye.com

 Camonster.com

 F-list.net

 Qkantton.wordpress.com




Similar Sites
               Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 173 of 195

Similar Sites
 Similarity




           Asylum.com                Porn.com                  Hotsex.com              Oy-Sex.com




         Twilightsex.com             Xnxx.com              Psychologytoday.com       Raunchygfs.com




        Myolderlovers.com            Sexetc.org
       Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 174 of 195
Rank




       Google.com               Amazon.com                Xnxx.com              Huffingtonpost.c…




        Porn.com              Adultfriendfinde…        Cosmopolitan.co…           Manhunt.net




       Playboy.com            Psychologytoday…




Related Mobile Apps
      Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 175 of 195

Related Mobile Apps
                                 NO APPS FOUND
Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 176 of 195




                  EXHIBIT “59”
Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 177 of 195
Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 178 of 195
Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 179 of 195




                  EXHIBIT “60”
Transaction Details - PayPal                                                        https://history.paypal.com/us/cgi-bin/webscr?cmd=_history-details-from...
          Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 180 of 195




                   Transaction Details

                   Payment to HVL. Cyber Web Solutions Inc.                                            Manage my transaction
                                                                                                               Contact seller
                                                                                                               Report unauthorized transaction


                      Y              il 3/28/2016 09 8 PDT           if        ll   i   l                  l             i   i
                      S        P     h     P t    ti   P li   f           il




                   Payment Sent (Unique Transaction ID # 90573893CP965000B)

                    Original Transaction
                          Date                                    Type                            Status            Details      Amount

                     Sep 29, 2015        Payment To HVL. Cyber Web Solutions Inc.              Completed           ...           -$20.00 USD


                    Related Transaction
                          Date                                    Type                            Status            Details      Amount

                     Sep 29, 2015        Add Funds from a Bank Account                         Completed           Details       $20.00 USD



                                 Business Name: HVL. Cyber Web Solutions Inc. (The recipient of this payment is Non-U.S. -
                                                 Verified)
                                          Email: fredvaliquette@yahoo.com


                   Business Contact Information

                      Customer Service Email: fredvaliquette@

                     Customer Service Phone:


                                    Amount sent: -$20.00 USD
                                     Fee amount: $0.00 USD
                                     Net amount: -$20.00 USD


                                             Date: Sep 29, 2015
                                             Time: 09:48:22 PDT
                                           Status: Completed


                                          Subject: You have sent $20.00 USD to HVL. Cyber Web Solutions Inc. with PayPal
                                             Note: :-)
                                    Funding Type: Instant Transfer
                               Funding Source: $20.00 USD –
                     Back Up Funding Source: Visa Debit Card




1 of 2                                                                                                                                         9/29/2015 9:49 AM
Transaction Details - PayPal                         https://history.paypal.com/us/cgi-bin/webscr?cmd=_history-details-from...
          Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 181 of 195




2 of 2                                                                                                    9/29/2015 9:49 AM
Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 182 of 195




                  EXHIBIT “61”
      Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 18310/13/15,
PayPal About - Home                                                                  of 1951:39 PM


                         About




                        At PayPal, we put people at the
                          center of everything we do.




                                                          Who we are

    At PayPal (NASDAQ:PYPL), we put people at the centre of         PayPal is a truly global payments platform that is available to
    everything we do. Founded in 1998, we continue to be at the     people in 203 markets, allowing customers to get paid in more
    forefront of the digital payments revolution. Last year, we     than 100 currencies, withdraw funds to their bank accounts in 57
    Who We Are        Financials   Leadership
    processed 4 billion payments, of which 1 billion were made on   currencies and hold balances in their PayPal accounts in 26
    mobile devices. PayPal gives people better ways to connect to   currencies.
    their money and to each other, helping them safely access and
                                                                    More information about PayPal can be found at www.paypal.ca.
    move their money and oﬀering a choice of how they would like
    to pay or be paid. With our 169 million active customer         Follow us on Twitter, Facebook, YouTube, LinkedIn and our
    accounts, we have created an open and secure payments           PayPal Canada blog.
    ecosystem that people and businesses choose to securely
    transact with each other online, in stores and on mobile
    devices.




https://www.paypal.com/ca/webapps/mpp/about/                                                                                      Page 1 of 6
      Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 18410/13/15,
PayPal About - Home                                                                  of 1951:39 PM

               Company's Founding Date              Corporate Headquarters               Media Resources
               December 1998                        2221 North First Street              More information
                                                    San Jose, California 95131
               Website Address                                                           Media Inquiries
               www.paypal.com                       Worldwide Operations                 Contact Us

                                                    12312 Port Grace Boulevard
                                                    La Vista, Nebraska 68128




                                               Q2 2015 Results




                 $2.29B                               169M                                   26
                       Revenue                  Active customer accounts*        Number of payments per account
                      up 16% YoY                      up 11% YoY                          up 11% YoY




https://www.paypal.com/ca/webapps/mpp/about/                                                                 Page 2 of 6
Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 185 of 195




                  EXHIBIT “62”
Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 186 of 195
Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 187 of 195
Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 188 of 195
Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 189 of 195
Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 190 of 195
Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 191 of 195




                  EXHIBIT “63”
      Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 19210/15/15,
Privacy Policy | Sex.com                                                             of 1956:41 PM


                           (/)                                                                     On     Oﬀ
                                 ! Search                     Videos                  "
                                 (https://twitter.com/sexdotcom)                                Gif Animation

                                                Login (/user/signin?redirect=%2Fabout%2Fprivacy)                Sign Up! (/user/signup)    $     (/about/us)


       Videos # (/sex-videos/?sort=latest)     Pictures # (/porn-pics/?sort=latest)         Categories # (/categories/)         Pornstars (/pornstars/all)


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       Free Sex Games (http://www.clicktraﬃx.net/598ca8c0-55a2-4b79-ad50-32c1ca66a3e5)                  Best Porn Sites (http://theporndude.com/)


       Sex Deals (http://sex.idealgasm.com/us/new-york/live-deals?ref=787)            Blog (http://www.sex.com/news/)


       Gay (http://www.gay.sex.com/?utm_source=Sex.com&utm_medium=header_link&utm_campaign=Sex.com)



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         How it Works
         (/about/howitworks)                 Eﬀective February 2012

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                                                        Registered Members: Registration is required for uploading pictures & videos, and accessing a



http://www.sex.com/about/privacy                                                                                                                               Page 1 of 4
      Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 19310/15/15,
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                                             number of other features. The following personal information is requested at the time of
                                             registration: username (required), and email address (required). All of this data, with the
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                                   him/her oﬀers, information or any other commercially oriented emails or other means of



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      Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 19410/15/15,
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        Case 1:15-cv-22463-MGC Document 49 Entered on FLSD Docket 10/15/2015 Page 19510/15/15,
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